      Case: 20-61019   Document: 160      Page: 1   Date Filed: 07/31/2023




                               No. 20-61019


                UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT


                       CHARLES RAY CRAWFORD,
                          Petitioner-Appellant
                                     v.
     BURL CAIN, COMMISSIONER, MISSISSIPPI DEPARTMENT OF
        CORRECTIONS; EARNEST LEE, SUPERINTENDENT,
               MISSISSIPPI STATE PENITENTIARY,
                      Respondents-Appellees

               On Appeal from the United States District Court
                   for the Northern District of Mississippi
                       USDC No. 3:17cv105-SA-DAS

            PETITIONER-APPELLANT’S EN BANC BRIEF


Vanessa J. Carroll                   Donald B. Verrilli, Jr.
Patrick Mulvaney                     Ginger D. Anders
Southern Center for Human Rights     MUNGER, TOLLES & OLSON LLP
60 Walton Street NW                  601 Massachusetts Ave., NW
Atlanta, GA 30303                    Suite 500E
P: (404) 688-1202                    Washington, DC 20001
F: (404) 688-9440                    P: (202) 220-1100
vcarroll@schr.org                    F: (202) 220-2300
                                     Donald.Verrilli@mto.com


                        Counsel for Petitioner-Appellant
       Case: 20-61019      Document: 160       Page: 2   Date Filed: 07/31/2023




                 CERTIFICATE OF INTERESTED PERSONS

                               No. 20-61019 (5th Cir.)

                          CHARLES RAY CRAWFORD,
                             Petitioner-Appellant
                                          v.
      BURL CAIN, COMMISSIONER, MISSISSIPPI DEPARTMENT OF
         CORRECTIONS; EARNEST LEE, SUPERINTENDENT,
                MISSISSIPPI STATE PENITENTIARY,
                       Respondents-Appellees


      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.2.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

      1.     Bell, David, Former Appellate Counsel

      2.     Carroll, Vanessa, Counsel for Petitioner-Appellant

      3.     Verrilli, Jr., Donald B., Counsel for Petitioner-Appellant

      4.     Anders, Ginger D., Counsel for Petitioner-Appellant

      5.     Munger, Tolles & Olson LLP, Counsel for Petitioner-Appellant

      6.     Coleman, R. Kenneth, Trial Judge

      7.     Crawford, Charles Ray, Petitioner-Appellant

      8.     Davis, Jason, L., Former Counsel for Respondent-Appellee

      9.     Fortier, William R., Trial Counsel



                                           i
       Case: 20-61019    Document: 160        Page: 3   Date Filed: 07/31/2023




      10.   Grant, Bridgette, Counsel for Respondent-Appellee

      11.   Holmes, George T., Former Counsel for Respondent-Appellee

      12.   Levidiotis, Thomas C., Former Appellate Counsel

      13.   Little, Lawrence L., State Court Prosecutor

      14.   Mulvaney, Patrick, Counsel for Petitioner-Appellant

      15.   Pannell, James, Trial Counsel

      16.   Robinson, David L., State Court Prosecutor

      17.   Stuart, Scott, Former Counsel for Respondent-Appellee

      18.   Swartzfager, Glenn S., Direct Appeal Counsel

      19.   Wood, Stephanie Breland, Former Counsel for Respondent-Appellee

                                     Respectfully submitted,

Date: July 31, 2023                  /s/ Donald B. Verrilli, Jr.
                                     Donald B. Verrilli, Jr.
                                     MUNGER, TOLLES & OLSON LLP
                                     601 Massachusetts Ave., NW
                                     Suite 500E
                                     Washington, DC 20001
                                     P: (202) 220-1100
                                     F: (202) 220-2300
                                     Donald.Verrilli@mto.com
                                     Counsel for Petitioner-Appellant




                                         ii
       Case: 20-61019      Document: 160       Page: 4   Date Filed: 07/31/2023




              STATEMENT REGARDING ORAL ARGUMENT

      This Court has tentatively calendared this case for En Banc Oral Argument

for the week of September 18, 2023. Petitioner-Appellant agrees that oral argument

is warranted because this case presents exceptionally important issues, and oral

argument is likely to aid the Court’s decisional process.




                                         iii
          Case: 20-61019               Document: 160              Page: 5         Date Filed: 07/31/2023




                                          TABLE OF CONTENTS

                                                                                                                       Page
CERTIFICATE OF INTERESTED PERSONS ........................................................ i
STATEMENT REGARDING ORAL ARGUMENT .............................................iii
TABLE OF CONTENTS ..........................................................................................iv
TABLE OF AUTHORITIES ....................................................................................vi
STATEMENT OF JURISDICTION.......................................................................... 1
STATEMENT OF THE ISSUES PRESENTED FOR REVIEW ............................. 1
INTRODUCTION .....................................................................................................2
STATEMENT OF THE CASE ..................................................................................5
         A.       Pretrial Proceedings...............................................................................5
         B.       Trial .......................................................................................................9
         C.       State Appellate and Post-Conviction Proceedings ..............................12
         D.       Federal Proceedings ............................................................................14
SUMMARY OF ARGUMENT ...............................................................................16
STANDARD OF REVIEW .....................................................................................19
ARGUMENT ...........................................................................................................19
I.       THE TRIAL COURT VIOLATED AKE BY DENYING EXPERT
         FUNDING, AND CRAWFORD’S APPELLATE COUNSEL WAS
         INEFFECTIVE FOR FAILING TO RAISE THAT MERITORIOUS
         AKE CLAIM ON DIRECT APPEAL. ..........................................................19
         A.       Trial counsel preserved a meritorious Ake claim. ...............................21
         B.       Appellate counsel’s failure to raise the Ake claim was deficient
                  and prejudicial. ....................................................................................23
II.      CRAWFORD’S TRIAL ATTORNEY WAS INEFFECTIVE FOR
         FAILING TO OBTAIN EXPERT ASSISTANCE IN SUPPORT OF
         THE INSANITY DEFENSE. ........................................................................27
         A.       The panel failed to apply Strickland’s clearly established law. .......... 28
         B.       Counsel’s deficient performance prejudiced Crawford. .....................33
                                             iv
          Case: 20-61019             Document: 160             Page: 6        Date Filed: 07/31/2023




                                       TABLE OF CONTENTS
                                           (Continued)

                                                                                                                  Page

III.    THIS COURT SHOULD NOT ADOPT THE PANEL’S
        UNPRECEDENTED REQUIREMENT OF FACTUAL
        INNOCENCE AS A PREREQUISITE TO HABEAS RELIEF. .................. 35
        A.       An innocence requirement cannot be reconciled with Section
                 2254’s text. ..........................................................................................36
        B.       History and precedent foreclose the panel’s reliance on Section
                 2243’s provision that courts shall “dispose of the matter as law
                 and justice require.”.............................................................................37
                 1.       The instruction that courts shall “dispose of the matter as
                          law and justice require” does not require, and has never
                          required, courts to deny habeas relief absent a showing of
                          innocence. .................................................................................39
                 2.       Section 2243’s “law and justice” provision does not grant
                          courts discretion to create an innocence requirement or
                          to deny individual petitions for failure to show
                          innocence. .................................................................................46
        C.       Recent Supreme Court cases do not support the panel’s actual-
                 innocence requirement. .......................................................................53
CONCLUSION ........................................................................................................55
CERTIFICATE OF SERVICE ................................................................................56
CERTIFICATE OF COMPLIANCE .......................................................................57




                                                           v
          Case: 20-61019            Document: 160             Page: 7      Date Filed: 07/31/2023




                                    TABLE OF AUTHORITIES

                                                                                                          Page(s)
FEDERAL CASES

Ake v. Oklahoma,
   470 U.S. 68 (1985) .......................................................................................passim

Beavers v. Balkom,
  636 F.2d 114 (5th Cir. 1981) ..............................................................................32

Bouchillion v. Collins,
  907 F.2d 589 (5th Cir. 1990) ..............................................................................32

Brecht v. Abrahamson,
   507 U.S. 619 (1993) ......................................................................................22, 49

Brown v. Davenport,
   142 S. Ct. 1510 (2022) ............................................................................42, 53, 54

Brown v. Walker,
   161 U.S. 591 (1896) ............................................................................................36
Calderon v. Thompson,
  523 U.S. 538 (1998) ............................................................................................54

Canales v. Stephens,
  765 F.3d 551 (5th Cir. 2014) ..............................................................................31

Coleman v. Thompson,
  501 U.S. 722 (1991) ............................................................................................49
Cunningham v. Neagle,
  135 U.S. 1 (1890) ..........................................................................................41, 48

Danforth v. Minnesota,
  552 U.S. 264 (2008) ............................................................................................48

Evans v. United States,
  504 U.S. 255 (1992) ............................................................................................46

                                                         vi
          Case: 20-61019             Document: 160              Page: 8      Date Filed: 07/31/2023




                                     TABLE OF AUTHORITIES
                                           (Continued)

                                                                                                            Page(s)

Evitts v. Lucey,
   469 U.S. 387 (1985) ..........................................................................15, 23, 25, 26

Ex parte Garland,
   71 U.S. 333 (1866) ..............................................................................................36
Ex parte Lange,
   85 U.S. 163 (1873) ..............................................................................................40
Ex parte Milligan,
   71 U.S. 2 (1866) ..................................................................................................36
Ex parte Nielsen,
   131 U.S. 176 (1889) ......................................................................................42, 48
Ex parte Wilson,
   114 U.S. 417 (1885) ......................................................................................42, 48
Frank v. Mangum,
   237 U.S. 309 (1915) ............................................................................................41

Free Enterprise Fund v. PCAOB,
   561 U.S. 477 (2010) ............................................................................................51

Georgia v. Public.Resource.Org, Inc.,
  140 S. Ct. 1498 (2020) ........................................................................................43

Halo Elecs., Inc. v. Pulse Elecs., Inc.,
  579 U.S. 93 (2016) ..............................................................................................52

Hammond v. Hall,
  586 F.3d 1289 (11th Cir. 2009) ..........................................................................29

Harrington v. Richter,
  562 U.S. 86 (2011) ........................................................................................19, 28

Helsinn Healthcare S.A. v. Teva Pharms. USA, Inc.,
  139 S. Ct. 628 (2019) ..........................................................................................44


                                                          vii
          Case: 20-61019            Document: 160              Page: 9     Date Filed: 07/31/2023




                                    TABLE OF AUTHORITIES
                                          (Continued)

                                                                                                          Page(s)

Herrera v. Collins,
  506 U.S. 390 (1993) ......................................................................................53, 54

Hill v. Texas,
   316 U.S. 400 (1942) ......................................................................................36, 52
Hinton v. Alabama,
   571 U.S. 263 (2014) ......................................................................................27, 31
Johnson v. Zerbst,
   304 U.S. 458 (1938) ......................................................................................43, 48
Kaufman v. United States,
  394 U.S. 217 (1969) ......................................................................................44, 45
Kimmelman v. Morrison,
  477 U.S. 365 (1986) ................................................................................45, 46, 50
Kuhlmann v. Wilson,
  477 U.S. 436 (1986) ............................................................................................49

Kush v. Rutledge,
  460 U.S. 719 (1983) ............................................................................................39

Lafler v. Cooper,
   566 U.S. 156 (2012) ............................................................................................46

Lockett v. Anderson,
  230 F.3d 695 (5th Cir. 2000) ........................................................................30, 32

McCleskey v. Zant,
  499 U.S. 467 (1991) ............................................................................................48

McQuiggin v. Perkins,
  569 U.S. 383 (2013) ............................................................................................37

McWilliams v. Dunn,
  582 U.S. 183 (2017) ................................................................................21, 25, 31


                                                        viii
         Case: 20-61019             Document: 160              Page: 10       Date Filed: 07/31/2023




                                     TABLE OF AUTHORITIES
                                           (Continued)

                                                                                                           Page(s)

In re Medley,
    134 U.S. 160 (1890) ................................................................................40, 41, 48

Miller v. Dretke,
   420 F.3d 356 (5th Cir. 2005) ..............................................................................32
Moore v. Dempsey,
  261 U.S. 86 (1923) ........................................................................................41, 42
Murray v. Carrier,
  477 U.S. 478 (1986) ............................................................................................50
NFIB v. OSHA,
  142 S. Ct. 661 (2022) ....................................................................................51, 52
Profitt v. Waldron,
   831 F.2d 1245 (5th Cir. 1987) ......................................................................32, 35
Rompilla v. Beard,
  545 U.S. 374 (2005) ............................................................................................27

Rose v. Mitchell,
  443 U.S. 545 (1979) ............................................................................................45

Salts v. Epps,
   676 F.3d 468 (5th Cir. 2012) ..............................................................................19

In re Savage,
   134 U.S. 176 (1890) ............................................................................................41

Schneckloth v. Bustamonte,
   412 U.S. 218 (1973) ............................................................................................40

Sears v. Upton,
   561 U.S. 945 (2010) ............................................................................................27

Shapiro v. United States,
   335 U.S. 1 (1948) ................................................................................................43


                                                          ix
         Case: 20-61019             Document: 160             Page: 11       Date Filed: 07/31/2023




                                     TABLE OF AUTHORITIES
                                           (Continued)

                                                                                                          Page(s)

Shinn v. Ramirez,
   142 S. Ct. 1718 (2022) ..................................................................................53, 54

Stone v. Powell,
   428 U.S. 465 (1976) ................................................................................44, 45, 50
Strickland v. Washington,
   466 U.S. 668 (1984) .....................................................................................passim
Teague v. Lane,
   489 U.S. 288 (1989) ............................................................................................49
United States v. Cronic,
  466 U.S. 648 (1984) ......................................................................................17, 25
United States v. Texas,
  143 S. Ct. 1964 (2023) ........................................................................................51
Wainwright v. Sykes,
  433 U.S. 72 (1977) ..............................................................................................49

Wiggins v. Smith,
  539 U.S. 510 (2003) ............................................................................................30

Wilkinson v. Dotson,
   544 U.S. 74 (2005) ..............................................................................................48

Williams v. Taylor,
   529 U.S. 326 (2000) ................................................................................26, 30, 31

Wingo v. Wedding,
  418 U.S. 461 (1974) ............................................................................................43

STATE CASES

Brown v. State,
   152 So.3d 1146 (Miss. 2014) ..................................................................23, 26, 27



                                                          x
          Case: 20-61019             Document: 160              Page: 12        Date Filed: 07/31/2023




                                      TABLE OF AUTHORITIES
                                            (Continued)

                                                                                                              Page(s)

Crawford v. State,
  192 So.2d 905 (Miss. 2015) ................................................................................13

Evans v. State,
  109 So.3d 1044 (Miss. 2013) ..............................................................................26
Harrison v. State,
  635 So.2d 894 (Miss. 1994) ................................................................................26
Hearn v. State,
  3 So.3d 722 (Miss. 2008) ....................................................................................27
Isham v. State,
   161 So.3d 1076 (Miss. 2015) ........................................................................26, 27
Johnson v. State,
   475 So.2d 1136 (Miss. 1985) ..............................................................................32
Lowe v. State,
  127 So.3d 178 (Miss. 2013) ..........................................................................26, 27

Roundtree v. State,
  568 So. 2d 1173 (Miss. 1990) .............................................................................35

FEDERAL STATUTES

28 U.S.C. § 1291 ........................................................................................................1

28 U.S.C. § 2241 ................................................................................................47, 50

28 U.S.C. § 2241(c) .................................................................................................47

28 U.S.C. § 2241(c)(3) .............................................................................................36

28 U.S.C. § 2243 ...............................................................................................passim

28 U.S.C. § 2244(b)(2)(B) .......................................................................................37
28 U.S.C. § 2253 ........................................................................................................1


                                                           xi
          Case: 20-61019             Document: 160              Page: 13      Date Filed: 07/31/2023




                                     TABLE OF AUTHORITIES
                                           (Continued)

                                                                                                            Page(s)

28 U.S.C. § 2254 ......................................................................................1, 36, 48, 55

28 U.S.C. § 2254(a) .....................................................................................18, 36, 38

28 U.S.C. § 2254(d) ...........................................................................................19, 54
28 U.S.C. § 2254(e)(2)(B) .......................................................................................37

Habeas Corpus Act of Feb. 5, 1867, Chapter 28, § I, 14 Stat. 385
  (codified at 28 U.S.C. §§ 2241-2255 (1976)) ...............................................39, 47

Rev. Stat. § 761 .................................................................................................passim

LEGISLATIVE MATERIALS
2 Cong. Rec. 1210 (Feb. 2, 1874) ............................................................................40
S. Rep. No. 80-1526 (1948) .....................................................................................43

OTHER AUTHORITIES
Clarke D. Forsythe, The Historical Origins of Broad Federal Habeas
   Review Reconsidered, 70 Notre Dame L. Rev. 1079, 1089 (1995)....................40
Paul D. Halliday, Habeas Corpus: From England To Empire (2010) ....................40




                                                          xii
       Case: 20-61019      Document: 160        Page: 14   Date Filed: 07/31/2023




                        STATEMENT OF JURISDICTION

       The district court exercised jurisdiction over Charles Crawford’s habeas

petition pursuant to 28 U.S.C. § 2254. After dismissing the petition, the district court

issued a Certificate of Appealability and entered judgment on October 9, 2020.

ROA.990, 997-99. On October 30, 2020, Crawford filed a timely notice of appeal,

ROA.999, and this Court has jurisdiction under 28 U.S.C. §§ 1291 and 2253.

         STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

       1. Whether Crawford is entitled to federal habeas relief on his claim that the

trial court violated Ake v. Oklahoma, 470 U.S. 68 (1985), by denying Crawford

expert-witness funding that was clearly required under Ake.

       2. Whether Crawford’s appellate counsel was ineffective for failing to raise

the Ake claim where, contrary to the panel’s conclusion, the Ake claim was preserved

in the trial court.

       3. Whether, if this Court concludes that the Ake claim was not preserved in

the trial court, Crawford is entitled to federal habeas relief on his claim of ineffective

assistance of trial counsel, when counsel failed to preserve the Ake claim and failed

to investigate Crawford’s mental health or develop expert testimony supporting

Crawford’s insanity defense.

       4. Whether this Court should adopt the panel’s holding that a colorable

showing of factual innocence is a prerequisite to federal habeas relief.

                                            1
       Case: 20-61019     Document: 160       Page: 15   Date Filed: 07/31/2023




                                INTRODUCTION

      This should have been a straightforward case granting federal habeas relief to

address obvious constitutional errors that went to the very core of Charles

Crawford’s ability to have a fair trial in Mississippi state court—and thus to the

reliability of the adversarial process that produced his conviction and sentence.

      Crawford’s state criminal trial focused on his mental health. The prosecution

alleged that Crawford committed rape; the defense contended that he was not guilty

by reason of insanity. ROA.1795, 1810. Crawford has a long and well-documented

history of mental illness. He had been civilly committed two years before the offense

at issue because a court determined that he was a “mentally ill person who pose[d]

a substantial likelihood of physical harm to himself.” ROA.2850. He has a history

of seizures and “blackout spells.” ROA.3040-42. He had been prescribed Lithium

and other psychotropic medications by state doctors. ROA.2866. His family

members had expressed concern because he “would not bathe [or] groom himself,”

and he was “someone entirely different day by day.”            ROA.2862-63.         And

subsequent neurological examinations revealed serious organic brain damage that

could well have established an insanity defense.         ROA.2914-21; ROA.2492.

Nevertheless, the presiding state trial judge denied Crawford’s repeated requests for

funds necessary to retain an independent mental health expert to support his insanity

defense—funds to which the Supreme Court’s decision in Ake v. Oklahoma, 470

                                          2
         Case: 20-61019     Document: 160       Page: 16   Date Filed: 07/31/2023




U.S. 68 (1985), entitled him.        Those rulings placed Crawford at an extreme

disadvantage. He was disarmed from making the only viable defense he had to the

rape charge, while the prosecution, by contrast, presented unrebutted testimony from

two state experts that Crawford was malingering and was not insane. ROA.1729-

67.      Making matters worse, Crawford’s appellate counsel—in what counsel

subsequently testified was an unconsidered oversight—failed to raise the Ake claim,

a claim that almost certainly would have entitled Crawford to vacatur and a new

trial.

         That is a textbook case of ineffective assistance of counsel under the clearly

established standards set forth in Strickland v. Washington, 466 U.S. 668 (1984).

Appellate counsel’s oversight resulted in the failure to present a constitutional claim

that went to the heart of the fairness of Crawford’s trial and that would almost

certainly have resulted in the Mississippi Supreme Court vacating his conviction.

Yet the Mississippi state court—in an unreasoned decision that was contrary to, and

an unreasonable application of, Strickland and Ake—denied postconviction relief,

and a panel of this Court denied federal habeas relief. But the reasons the panel gave

for doing so are meritless. The panel absolved Crawford’s appellate counsel on the

theory that the Ake claim had been withdrawn by trial counsel and was therefore

unpreserved. But the undisputed record contradicts that finding. The panel also held

that even if the Ake claim were preserved, Crawford could not prevail because he

                                            3
       Case: 20-61019     Document: 160       Page: 17   Date Filed: 07/31/2023




could not establish that appellate counsel’s performance was so derelict that it was

as if Crawford had no appellate counsel at all. That holding was, however, a radical

departure from the test the Supreme Court prescribed in Strickland, which requires

only that counsel’s performance was objectively unreasonable under prevailing

professional norms. Correcting for the panel’s factual error, and applying Strickland

as the Supreme Court wrote it, there is no conceivable basis for rejecting Crawford’s

ineffective appellate assistance claim.

      But even if the panel were correct that Crawford’s appellate counsel was not

deficient because his trial counsel failed to preserve the Ake claim, that would merely

establish ineffective assistance of counsel for a different but equally compelling

reason: trial counsel would have forfeited a meritorious claim that could have

resulted in vacatur of Crawford’s conviction on appeal, and would have failed to

pursue the development of powerful expert neurological testimony that could well

have swayed the jury and rebutted the prosecution’s expert testimony that Crawford

was a malingerer. As with the appellate ineffective assistance claim, the panel

applied the legally erroneous “no counsel at all” standard to reject Crawford’s

alternative ineffective assistance claim.     Under Strickland, this claim, too, is

meritorious and requires relief.

      Finally, the panel lacked any basis in the text of the habeas statute, history, or

Supreme Court precedent for taking the extreme step of holding that a petitioner

                                          4
       Case: 20-61019     Document: 160       Page: 18   Date Filed: 07/31/2023




must make a colorable showing of factual innocence to obtain federal habeas relief.

Such fundamental decisions about the nature and scope of habeas corpus belong to

the Congress, not the judiciary. The legitimacy of our criminal justice system

requires confidence that the procedures used to determine guilt or innocence are fair

and reliable. Congress has been clear for more than a century that habeas relief is

an important safeguard of fairness and reliability of the criminal process, even for

prisoners who may be guilty. The panel was not free to reach a different judgment.

                          STATEMENT OF THE CASE

      A.     Pretrial Proceedings

      In 1991, a grand jury indicted Crawford for raping and kidnapping Kelly

Roberts. ROA.1021. The same grand jury indicted Crawford for aggravated assault

in connection with a related incident; that charge was given a different case number

and was tried separately. ROA.2038.

      Randy Fortier, Crawford’s initial attorney, filed a notice of intent to pursue an

insanity defense through “expert and lay testimony.” ROA.1051. Because Crawford

was indigent, Fortier sought funds for a mental health expert. ROA.1040. Fortier’s

motion stated that Crawford “suffers from various serious mental illnesses and

disorders” and that his “mental condition will be a primary and significant factor” at

trial. ROA.1041. The motion stated that the services of an expert were “necessary




                                          5
       Case: 20-61019      Document: 160       Page: 19   Date Filed: 07/31/2023




to enable the Defendant to prepare effectively for trial, present evidence on his own

behalf, and to cross-examine the State’s expert witnesses.” ROA.1041.

      The motion was supported by an affidavit from Dr. L.D. Hutt, a psychologist

who had conducted “a very preliminary evaluation” of Crawford’s mental health

based on Crawford’s psychiatric hospitalization records. ROA.1043; ROA.2063.

Dr. Hutt stated that Crawford exhibited Bipolar Affective Disorder and also may

have “more severe, psychological disorders” that “could result in extreme emotional

disturbance.” ROA.1043. Dr. Hutt stressed the importance of further testing and

stated that his “evaluation and trial services” would cost “a maximum of $3,000.”

ROA.1043.

      At a hearing on the motion, Fortier invoked Ake v. Oklahoma, 470 U.S. 68

(1985), and stated, “[I]f we are going to present a proper insanity defense in the trial

of this case it’s vital that we have expert assistance.” 1 ROA.2061. The State did not

challenge Crawford’s threshold showing of need; instead, it contended that

Crawford should be examined by a psychiatrist of the State’s choosing, not a defense

expert. ROA.2064-65. Fortier conceded that the State could seek “an independent

evaluation,” but only after the defense received access to an expert to assist in the




1
  The hearing began as a combined hearing for this case, Case No. 5780, and the
aggravated assault case, Case No. 5779. ROA.1040; ROA.2038. Fortier made clear
that the motion for funds applied to both. ROA.2061.
                                           6
       Case: 20-61019     Document: 160       Page: 20   Date Filed: 07/31/2023




“evaluation and preparation and presentation of the defendant[’]s case.” ROA.2066-

67. Fortier stressed that the defense and prosecution requests were “two separate

things,” ROA.2068, and that Crawford “is entitled to a psychiatrist who is going to

assist him” independent from the State, ROA.2067.

      Despite finding that Crawford was indigent and “may be suffering from some

illness which affects his ability to perceive the wrongfulness of his act,” ROA.2068,

2072, 2074, the trial court refused the request for expert assistance. ROA.2069 (“I’m

not going to spend $3,000 of Tippah County’s money.”). The court chose instead to

“use the facilities that the State of Mississippi has without expense to Tippah

County,” and ordered an evaluation of whether Crawford “kn[e]w right from wrong

on the date of the alleged offense.” ROA.2068-69. The court stated that it would

grant funds for a defense expert only if the State’s experts first determined “one way

or the other” whether Crawford was legally insane. ROA.2074.

      At the next hearing, the court learned that a social worker, not a doctor, had

evaluated Crawford. ROA.2092. The social worker’s report noted that Crawford

took Lithium for “Manic Depressive Illness,” had a history of serious substance

abuse, had attempted suicide twice, and had several family members with mental

health and substance abuse disorders. ROA.2897-98. The report also noted that

“some type of seizure disorder” possibly explained some of Crawford’s issues.

ROA.2899.

                                          7
       Case: 20-61019     Document: 160       Page: 21   Date Filed: 07/31/2023




      The prosecution then sought a further evaluation of Crawford. ROA.2092-

94. Fortier contended again that Ake entitled Crawford “to have his expert assist

him in the defense of this case,” ROA.2093, and that the prosecution’s proposal was

a constitutionally inadequate substitute. ROA.2095. The court again rejected

Fortier’s request, stating that it would not grant the defense’s request unless there

was “proof . . . regarding insanity.” ROA.2096-97.

      The court then ordered that Crawford be evaluated at the state hospital.

ROA.2096, 1101. The order confirms that the court granted the State’s request for

a sanity examination—not Crawford’s motion for expert assistance. See ROA.1101;

ROA.1103-04. Fortier objected. ROA.2101-04, 1105.

      State doctors examined Crawford in December 1992. ROA.1131. They

concluded that Crawford was malingering, had no serious mental illness, and had a

personality disorder. ROA.1135-36.

      Approximately one month later—just days before the trial was to begin—

Crawford was arrested for a murder, and Fortier moved to withdraw based on a

conflict of interest. ROA.1106-08. Before ruling on Fortier’s motion to withdraw,

the court ordered another examination of Crawford at the state hospital, again on the

State’s motion, to assess Crawford’s competency to stand trial. ROA.726-29, 1360-

64. The State’s doctors again concluded that Crawford was malingering. ROA.729.




                                          8
       Case: 20-61019     Document: 160       Page: 22   Date Filed: 07/31/2023




The court then granted Fortier’s motion to withdraw and appointed James Pannell

as counsel. ROA.1143.

      The following month, the court held a hearing for both this kidnapping and

rape case and the separate aggravated assault case arising from the same incident.

ROA.1389-1412. At the hearing, Pannell stated that the motion for expert funds in

Case Number 5779, the separate aggravated assault case, was moot; however, he did

not say the same for the motion in this case. ROA.1392. He then reaffirmed that

Crawford would present an insanity defense in the kidnapping and rape case.

ROA.1392.

      B.     Trial
      At trial, the prosecution sought to prove that Crawford brought Roberts to his

home, raped her, kidnapped her, and took her to Memphis. ROA.1481-86. In his

opening statement, Pannell told the jury that he did not know whether a crime

occurred, but that if the jury found that Crawford committed the alleged offenses,

they would need to decide whether Crawford was insane. ROA.1491-94.

      The prosecution’s direct case relied principally on Roberts’ testimony. She

testified that she knew Crawford because he was formerly married to her older sister.

ROA.1544. On the day in question, Crawford told Roberts that he needed to speak

with her, so she and a friend went to his home. ROA.1544-53. Roberts further

testified that after she entered the home, Crawford pulled out a gun, tied her hands


                                          9
      Case: 20-61019     Document: 160        Page: 23   Date Filed: 07/31/2023




with duct tape, and raped her. ROA.1554-57. Crawford “had a blank look on his

face” as these events transpired. ROA.1582. He then asked Roberts to shoot him,

and when she refused, he asked her to travel with him to Memphis to speak with her

sister. ROA.1558-60. Crawford arranged for a friend to drive them to Memphis,

where they spent the night. ROA.1561-66. The next morning, Roberts called her

sister to report the rape, ROA.1568-69, and Crawford called 911 to turn himself in,

ROA.1515, 1568-69.

      Pannell’s defense focused on insanity, relying on testimony from lay

witnesses and Crawford himself.      Crawford’s mother testified that she took

Crawford to a psychiatrist when he was a child because he heard voices. ROA.1647.

Later, Crawford started to experience severe headaches and mood swings.

ROA.1648-50. Crawford’s mother described these episodes as “spells” because

Crawford would get a “blank glare” on his face, his pupils would shrink, and he

would suddenly become angry and violent. ROA.1648-50, 1661, 1667.

      Crawford’s ex-wife testified that Crawford had emotional problems

throughout their marriage. ROA.1672. She observed the same “spells” in which

Crawford would get a severe headache, followed by changes to his eyes, personality,

and behavior. ROA.1673-74. During these “spells,” he would wake her up at night

jerking, shaking, and crying. ROA.1673.




                                         10
        Case: 20-61019     Document: 160        Page: 24   Date Filed: 07/31/2023




        Both women struggled to explain the source of Crawford’s behavior. See

ROA.1679 (“I’m not a doctor.”); ROA.1682 (“I don’t know what brought them

on.”); ROA.1687 (“I don’t know how to explain it.”). Because neither witness was

“qualified” as an expert, ROA.1653, 1678, the court prohibited them from testifying

about Crawford’s diagnoses, ROA.1648-49, the seriousness of his mental illness,

ROA.1678-79, and whether he knew what he was doing during his spells or had any

memory of them, ROA.1678. As a result, Pannell’s direct examinations elicited

damaging testimony that both women were afraid of Crawford. ROA.1652, 1669,

1678.

        Crawford testified that he did not know whether he raped Roberts: “I can’t

honestly say that I didn’t, and I can’t sit here and tell you that I did. . . . because I

don’t know.” ROA.1703; see also ROA.1718, 1727. He also testified to his history

of mental illness, including two hospitalizations and a diagnosis of bipolar disorder.

ROA.1691-95. He explained that he suffered “spells” and “blackouts” accompanied

by headaches, blurred vision, and memory loss, but he could not explain why they

occurred. ROA.1697-98.

        In rebuttal, the State called two expert psychiatrists: Dr. Reb McMichael, who

had evaluated Crawford at the state hospital; and Dr. Stanley Russell, who treated

Crawford in prison. ROA.1729, 1752. Both testified that Crawford did not suffer

from any major mental illness.         ROA.1733-34, 1739, 1743, 1758-60.             Dr.

                                           11
        Case: 20-61019    Document: 160        Page: 25   Date Filed: 07/31/2023




McMichael testified that Crawford was malingering his memory deficits,

ROA.1760, and did not meet the definition of insanity, ROA.1757. Dr. Russell

noted that Crawford’s blackouts could be consistent with a complex partial seizure

disorder but noted that further tests were needed to confirm that. ROA.1732-33,

1740.

        The prosecution’s closing argument emphasized that both of the experts who

testified “said [Crawford] does not have a disease of the mind.” ROA.1792;

ROA.1795 (“[B]oth doctors told you that his memory lapses are not credible.”);

ROA.1794 (“[T]he director of the State Hospital . . . testified there’s nothing wrong

with him.”). The prosecutor also argued that Crawford’s mother and ex-wife were

“afraid of him” and had testified only because they “have always covered for him.”

ROA.1793-94. In response, Pannell questioned whether Crawford committed the

alleged offenses but concluded by arguing that “the better road” would be “to find

him not guilty by reason of insanity.” ROA.1809; see also ROA.1811.

        The jury found Crawford not guilty of kidnapping but guilty of rape.

ROA.1823-24. The court imposed a 46-year prison sentence. ROA.1827.

        C.    State Appellate and Post-Conviction Proceedings
        Crawford appealed to the Mississippi Supreme Court. Glenn Swartzfager

represented him as appointed counsel. ROA.2326; ROA.2021. Swartzfager did not

challenge the trial court’s violation of Ake v. Oklahoma—despite the fact that the


                                          12
       Case: 20-61019     Document: 160        Page: 26     Date Filed: 07/31/2023




trial centered on the insanity defense and the testimony of the State’s experts on that

issue was unrebutted. ROA.2254-2307. The court affirmed Crawford’s conviction

and sentence. Crawford v. State, 192 So.2d 905, 912 (Miss. 2015).

      Crawford then filed a postconviction application in the Mississippi Supreme

Court. ROA.2433-88. He alleged that he was denied his right to expert assistance

at trial under Ake; that his appellate counsel was ineffective for failing to raise the

Ake issue on direct appeal; and that his trial counsel was ineffective for failing to

investigate the case and secure appropriate expert assistance. ROA.2433-88. In

support, Crawford submitted affidavits from both Pannell and Swartzfager. Pannell

testified that he did not pursue Fortier’s motion for an independent expert because it

was his understanding that “the court would force [him] to use the experts at the

Mississippi State Hospital—the very same experts that would testify for the State.”

ROA.3165. Swartzfager testified that he had “no strategic reason for not raising the

denial of expert funding” on direct appeal and that omitting it was “an oversight.”

ROA.2497.

      Crawford also submitted an affidavit from Dr. Siddhartha Nadkarni, who

specializes in the treatment and diagnosis of epilepsy, to show why the absence of

an independent defense expert prejudiced him.             ROA.2492-94. Dr. Nadkarni

conducted a neurological examination of Crawford, ROA.2914-21, and diagnosed

him with “Severe Brain Injury” and “Partial Epilepsy.” ROA.2920. He explained:

                                          13
       Case: 20-61019     Document: 160        Page: 27   Date Filed: 07/31/2023




      [Crawford’s] neurological examination was grossly abnormal and revealed
      significant central nervous system injury with evidence of brain injury as well.
      [Crawford] has had untreated and debilitating partial epilepsy from a very
      young age. He is severely brain injured from the epilepsy, repeated traumatic
      head injuries starting at a young age in a developing brain, and compounded
      by severe abuse and neglect as a child, and comorbid migraine headaches.

ROA.2492. Dr. Nadkarni also testified that Crawford’s “spells” and “glazed look”

indicated untreated epilepsy. ROA.2917. The spells “are most likely ‘complex

partial seizures,’ meaning they start in a restricted area of the brain and then spread

enough to cause alteration in awareness and behavior.”           ROA.2917-18.      Dr.

Nadkarni also testified that he believed Crawford was “in a state of repetitive partial

complex seizures on the day of the rape,” ROA.2493, which means that he “would

have had no awareness of his actions, nor agency in committing them.” ROA.2494.

In sum, Dr. Nadkarni stated in his affidavit that Crawford “is a brain-injured man

(corroborated both by history and his neurological examination) who was essentially

not present in any useful sense due to epileptic fits at the time of the crime.”

ROA.2494.

      The Mississippi Supreme Court summarily denied Crawford’s post-

conviction application on December 15, 2016. ROA.3167.

      D.     Federal Proceedings

      Crawford then filed a habeas petition in the United States District Court for

the Northern District of Mississippi, raising the issues from his state postconviction



                                          14
       Case: 20-61019     Document: 160        Page: 28   Date Filed: 07/31/2023




application. ROA.5-70; ROA.9-39. The district court denied relief, but granted a

certificate of appealability as to all claims. ROA.943-88, 996-98.

      On appeal, a panel of this Court affirmed. Op.1-20 (May 19, 2023). To

establish ineffective assistance of counsel, the panel held, “the defendant must show

that his lawyer was so bad as to be ‘no counsel at all.’” Op.8 (quoting Evitts v.

Lucey, 469 U.S. 387, 396 (1985)). Applying that heightened standard, the panel held

Crawford’s appellate counsel did not perform deficiently because the Ake claim was

not properly preserved at trial and was not “so strong that . . . appellate counsel’s

failure to raise it was tantamount to providing no counsel at all.” Op.9. The panel

similarly held that Crawford’s trial counsel was better than “no counsel at all”

because he secured an acquittal on the kidnapping count. Id. The panel also found

that trial counsel could have made a strategic decision not to investigate and present

expert mental health evidence because the defense of insanity was unsuccessful in

Crawford’s separate trial for aggravated assault. Op.10.

      Sweeping more broadly, the panel also held that Crawford was not entitled to

habeas relief because he did not “show factual innocence.” Op.16-17. According

to the panel, the “historical office” of habeas corpus and the “federal principles

undergirding AEDPA” require proof of factual innocence as a prerequisite for

habeas relief, Op.16, and “factual innocence” requires proof that the defendant “did




                                          15
       Case: 20-61019     Document: 160        Page: 29   Date Filed: 07/31/2023




not commit the conduct underlying his conviction,” Op.18—a ruling that would

categorically preclude relief for any claim related to an insanity defense, id.

      Crawford filed petitions for panel rehearing and rehearing en banc. This Court

initially denied rehearing en banc, and the panel issued a revised opinion. Op.1.

This Court subsequently granted rehearing en banc on its own motion.

                          SUMMARY OF ARGUMENT

      I. Crawford’s contentions that the trial court violated Ake, and that his

appellate counsel was ineffective for failing to raise the claim, are meritorious under

clearly established law, and entitle him to habeas relief.

      Crawford’s initial trial counsel established Crawford’s entitlement to expert

assistance under Ake, and the trial court’s refusal to provide the assistance was

constitutional error. Appellate counsel testified that his omission of the Ake claim

was the result of an embarrassing oversight, not a strategic choice. Under governing

law, that claim would almost certainly have entitled Crawford to vacatur of his

conviction. A clearer case of ineffective appellate assistance is difficult to imagine.

      The panel’s rejection of the claim rests on two fundamental errors. First, the

panel erred in concluding that appellate counsel could not be faulted for failing to

raise the Ake claim because it was unpreserved. The undisputed record establishes

otherwise. Second, the panel applied the wrong legal standard. According to the

panel, Crawford could only prevail if appellate counsel performed so poorly that it

                                          16
       Case: 20-61019     Document: 160        Page: 30   Date Filed: 07/31/2023




was as if Crawford had no counsel at all. But that standard, derived from United

States v. Cronic, 466 U.S. 648 (1984), is one that obviates the need to show prejudice

in extreme cases of attorney malfeasance. It is not a standard that every petitioner

alleging ineffective assistance must meet to obtain relief. In treating it as such, the

panel departed from clearly established law.

      The correct standard, which was stated with crystalline clarity in Strickland v.

Washington, is whether “counsel’s representation fell below an objective standard

of reasonableness,” measured “under prevailing professional norms.” 466 U.S. 668,

688 (1984).     An unintentional oversight that forfeits a plainly meritorious

constitutional claim entitling a defendant to a new trial plainly falls below the

objective standard of reasonableness that Strickland requires.             Crawford’s

entitlement to relief under clearly established law is indisputable.

      II. Crawford’s alternative argument—that, if trial counsel did abandon his

right under Ake to expert assistance, the failure to preserve the argument and to

develop and present expert testimony supporting the insanity defense denied

Crawford the effective assistance of counsel at trial—is also meritorious and entitles

him to habeas relief.

      A failure to preserve Crawford’s plainly meritorious Ake claim would itself

fall below Strickland’s objective standard of reasonableness. Beyond that, substitute

trial counsel’s failure to develop readily available, powerful expert testimony

                                          17
       Case: 20-61019      Document: 160        Page: 31   Date Filed: 07/31/2023




supporting the insanity claim that was the linchpin of Crawford’s defense also falls

below Strickland’s objective standard of reasonableness. And counsel’s reason for

failing to investigate—his belief that the trial court would limit him to relying on the

prosecution’s doctors—was a basic legal error that cannot excuse deficient

performance.

      III. The panel’s alternative holding that Section 2243 required Crawford to

make a colorable showing of factual innocence in order to obtain habeas relief lacks

any basis in the law and should be rejected.

      The habeas statute provides in plain terms that a petitioner who proves that he

“is in custody in violation of the Constitution or laws or treaties of the United States”

on the basis of “clearly established law” is entitled to relief. 28 U.S.C. § 2254(a);

2254(d). Nothing in the actions of Congress or the Supreme Court in the century

and a half since the federal habeas statute was first enacted supports the conclusion

that Section 2243’s instruction to dispose of petitions “as law and justice require”

requires or even permits federal courts to demand a showing of innocence before

granting habeas relief. The judicial imposition of such a sweeping and fundamental

change in habeas law would far exceed the proper role of the courts in our system of

separation of powers.




                                           18
       Case: 20-61019     Document: 160        Page: 32   Date Filed: 07/31/2023




                            STANDARD OF REVIEW

      This Court “reviews the district court’s findings of fact for clear error and its

conclusions of law de novo,” while also “applying the same standards to the state

court’s decision as did the district court.” Salts v. Epps, 676 F.3d 468, 473 (5th Cir.

2012) (quotation omitted). Under the Anti-Terrorism and Effective Death Penalty

Act of 1996 (AEDPA), Crawford must show, as relevant here, that the state court’s

adjudication of his claims “resulted in a decision that was contrary to, or involved

an unreasonable application of, clearly established Federal law, as determined by the

Supreme Court of the United States.” 28 U.S.C. § 2254(d).

      Because the state court rejected Crawford’s claims in an unexplained order,

Crawford must show “there was no reasonable basis for the state court to deny

relief.” Harrington v. Richter, 562 U.S. 86, 98 (2011). Once Crawford meets his

burden under 28 U.S.C. § 2254(d), this Court reviews his claim de novo. See Salts,

676 F.3d at 480.

                                   ARGUMENT

I.    The trial court violated Ake by denying expert funding, and Crawford’s
      appellate counsel was ineffective for failing to raise that meritorious Ake
      claim on direct appeal.

      Crawford’s trial counsel requested expert assistance to support his insanity

defense, but the trial court declined to provide it. In pretrial proceedings, counsel

notified the court of Crawford’s intent to pursue an insanity defense, ROA.1051, and


                                          19
       Case: 20-61019       Document: 160        Page: 33   Date Filed: 07/31/2023




then, in accordance with Ake, he sought funds for expert assistance. ROA.1041. The

motion included an affidavit from a psychologist who had reviewed Crawford’s

psychiatric records and found evidence of mental illness that could support an

insanity defense.     ROA.1043.      Crawford thus made the necessary “threshold

showing . . . that his sanity [was] likely to be a significant factor in his defense,” Ake,

470 U.S. at 82. The trial court nevertheless refused to follow Ake and instead insisted

that the State’s experts—who were working for the prosecution—had to determine

that Crawford was insane before the court would provide him with expert assistance.

ROA.2068-69, 2074, 2096-97. That Ake violation warranted a new trial.

       Notwithstanding this obvious constitutional error, Crawford’s appellate

counsel failed to brief the Ake violation on appeal due to an unintentional

“oversight.” ROA.2497. That textbook ineffective assistance of appellate counsel

violated Crawford’s Sixth Amendment right and establishes cause and prejudice for

the failure to raise the Ake claim on appeal.

      The panel made two dispositive errors in rejecting Crawford’s ineffective

assistance claim. First, it held, incorrectly, that the underlying Ake claim was not

preserved at trial because Crawford’s counsel withdrew the Ake motion. Op.8-9.

That motion was never withdrawn, and the claim was fully preserved. Second, it

disregarded the clearly-established standard set forth in Strickland v. Washington for

adjudicating ineffectiveness claims, and instead required Crawford to meet the much

                                            20
       Case: 20-61019      Document: 160        Page: 34   Date Filed: 07/31/2023




higher standard that appellate counsel’s failure was “tantamount to providing no

appellate counsel at all.” Op.9. Applying that incorrect standard, the panel reached

the unprecedented conclusion that, even if the Ake claim had been preserved, the

acknowledged “oversight” of appellate counsel in failing to present that meritorious

claim to the Mississippi Supreme Court was not ineffective because counsel raised

other (unmeritorious) claims on appeal.

      The panel opinion thus provides no reasonable basis on which the state court

could have rejected Crawford’s claim that his appellate counsel fell short of what

the Sixth Amendment requires.

      A.     Trial counsel preserved a meritorious Ake claim.
      In Ake, the Supreme Court held that when an indigent defendant

“demonstrates to the trial judge that his sanity at the time of the offense is to be a

significant factor at trial, the State must, at a minimum, assure the defendant access

to a competent psychiatrist who will conduct an appropriate examination and assist

in the evaluation, preparation, and presentation of the defense.” 470 U.S. at 83. And

the Supreme Court has made clear that, for AEDPA purposes, Ake “clearly

established” an indigent defendant’s right to an expert “independent from the

prosecution.” McWilliams v. Dunn, 582 U.S. 183, 186 (2017) (emphasis added). It

has thus been clearly established since 1985 that the kind of independent expert

assistance Crawford sought is essential to a fair trial because it is “a virtual necessity


                                           21
       Case: 20-61019     Document: 160        Page: 35   Date Filed: 07/31/2023




if an insanity plea is to have any chance of success.” Ake 470 U.S. at 81; see id. at

77.

      The trial court disregarded Ake’s clearly established rule. Crawford made the

showing Ake requires to receive independent expert assistance. See pp. 5-7, 18-19,

supra. The trial court nevertheless held that Crawford first had to prove his insanity

to the court before he could have what Ake entitles him to, and that he would not

grant Crawford’s motion unless the State’s experts first evaluated Crawford and

concluded that he was likely insane. See pp. 7-8, supra; ROA.2069 (“I’m not going

to spend $3000 of Tippah County’s money”). The trial court thus made proof of

insanity a precondition to expert assistance. That is irreconcilable with Ake’s

requirement that a defendant need only make a “threshold showing” that “his sanity

is likely to be a significant factor in his defense.” Ake, 470 U.S. at 82-83. Even

worse, the court directed the State’s experts to make this determination, giving the

State the power to foreclose Crawford’s access to the expert assistance that was

necessary for a meaningful adversarial process—which is exactly what happened.

      That constitutional error unquestionably had a “substantial and injurious

effect or influence” on the jury’s verdict. Brecht v. Abrahamson, 507 U.S. 619, 623

(1993). As the Supreme Court observed in Ake, expert assistance is a “virtual

necessity if an insanity plea is to have any chance of success.” 470 U.S. at 81. That

is particularly true here, where the State relied on two experts to meet its burden of

                                          22
        Case: 20-61019     Document: 160        Page: 36   Date Filed: 07/31/2023




proving Crawford’s sanity. Crawford was denied “the raw materials integral to the

building of an effective defense” because he did not have his own expert to assist

with his defense and the cross-examination of the State’s experts. Brown v. State,

152 So.3d 1146, 1166 (Miss. 2014) (due process violated where trial court denied

defendant’s Ake motion and prosecution relied solely on expert witness to show

culpability) (quoting Ake, 470 U.S. at 77).

       In short, a meritorious Ake claim was preserved at trial. For the reasons stated

below, appellate counsel’s ineffectiveness establishes cause and prejudice for

Crawford’s failure to raise the claim on appeal, and also provides a distinct ground

for relief.

       B.     Appellate counsel’s failure to raise the Ake claim was deficient and
              prejudicial.
       The Sixth and Fourteenth Amendments guarantee the right to the effective

assistance of counsel on appeal as well as at trial. Evitts v. Lucey, 469 U.S. 387

(1985); Strickland v. Washington, 466 U.S. 668 (1984). To establish a Sixth

Amendment violation, the petitioner must show that counsel performed deficiently,

meaning that counsel’s representation “fell below an objective standard of

reasonableness” measured “under prevailing professional norms.” Strickland, 466

U.S. at 688. The petitioner must also show “a reasonable probability that, but for

counsel’s unprofessional errors, the result of the proceeding would have been

different.” Id. at 694.
                                           23
       Case: 20-61019     Document: 160      Page: 37    Date Filed: 07/31/2023




      The panel held that appellate counsel’s failure to raise the Ake claim on direct

appeal was reasonable because the claim had been withdrawn by Crawford’s

substitute trial counsel (Pannell) and therefore was not preserved. That was wrong:

trial counsel withdrew the Ake motion in a different case, but left it in place in this

one. The only exchange in which counsel mentioned the withdrawal of an Ake

motion went as follows:

      THE COURT:          Ex parte motion to provide funds for expert assistance.

      COUNSEL:            In case 5779 that’s a moot question at this point.

ROA.1392. Counsel’s statement addressed a separate case, No. 5779. Counsel

never suggested that the Ake motion was moot or withdrawn as to this case, No.

5780. Indeed, it is particularly striking that the panel would rely on this ground to

reject the claim. Crawford’s appellate counsel testified that he did not make a

conscious decision to forego the Ake claim on appeal—based on the belief it was

forfeited, or for any other reason—and that his failure to do so was instead an

oversight. ROA.2497. There is thus no conceivable basis for concluding that

appellate counsel acted reasonably in omitting the Ake claim.2




2
  Nor can appellate counsel’s failure be excused based on the district court’s
conclusion that the trial court never denied counsel’s request for funds. ROA.958-
59. The court repeatedly rejected counsel’s request, and held that Crawford was not
entitled to funds unless the State’s experts concluded that he was insane. ROA.2074;
2091; 2097. But it is clearly established that a defendant’s Ake right cannot be made
                                           24
       Case: 20-61019     Document: 160        Page: 38   Date Filed: 07/31/2023




      Moreover, in holding that appellate counsel’s performance was acceptable

even if the Ake claim had been preserved at trial, the panel did not apply the clearly

established Strickland test. 466 U.S. at 688. Instead, the panel held that Crawford

had to show that counsel’s failure to raise Ake on appeal was “tantamount to

providing no counsel at all.” Op.9 (citing Evitts, 469 U.S. at 396). That is a serious

misreading of Strickland. The phrase “no counsel at all” appears just once in

Strickland: inside a parenthetical in a footnote in Justice Brennan’s partial

concurrence, noting that counsel’s incompetence “can be so serious that it rises to

the level of a constructive denial of counsel which can constitute constitutional error

without any showing of prejudice.” Strickland, 466 U.S. at 703 n.2 (Brennan, J.

concurring in part) (citing United States v. Cronic, 466 U.S. 648, 659-660 (1984)).

Strickland was thus referring to the distinct Cronic claim for constructive denial of

counsel—where the higher standard (counsel’s performance was equivalent to

having no counsel at all) eliminates any need to prove prejudice. 3




contingent on the judgment of prosecution experts. McWilliams, 582 U.S. at 186.
So the trial court had no legal basis to reject Crawford’s request.
3
  The panel was equally off-base in relying on Evitts’ statement that “a party whose
counsel is unable to provide effective representation is in no better position than one
who has no counsel at all.” Op.8; Evitts, 469 U.S. at 396. The Court’s point was that
the existing right to counsel on direct appeal would be meaningless unless the
Constitution also required that appellate counsel be effective. The Court’s statement
did not obliquely alter the existing Strickland standard for ineffective assistance.
                                          25
       Case: 20-61019     Document: 160        Page: 39   Date Filed: 07/31/2023




      Under the standard prescribed in Strickland, appellate counsel’s failure to

raise Ake on appeal was an obvious Sixth Amendment violation. The Mississippi

Supreme Court had repeatedly granted relief for Ake claims. See Harrison v. State,

635 So.2d 894 (Miss. 1994); Evans v. State, 109 So.3d 1044 (Miss. 2013); Lowe v.

State, 127 So.3d 178 (Miss. 2013); Brown, 152 So.3d at 1166 (due process violated

where trial court denied defendant’s Ake motion and prosecution relied solely on

expert witness to show culpability); Isham v. State, 161 So.3d 1076 (Miss. 2015).

Crawford’s claim was at least as strong as those on which the Mississippi Supreme

Court had granted relief—which is doubtless why, when the Mississippi Supreme

Court at oral argument expressed dismay at appellate counsel’s failure to raise the

claim, counsel was “stunned,” “upset,” and “embarrassed” because he never made a

strategic decision to omit the claim. ROA.2497.

      Led astray by its focus on the wrong Sixth Amendment standard, the panel

held that appellate counsel was not deficient because he raised other preserved

claims. Op.9. But Strickland requires an evaluation whether a specific decision by

counsel, in this case the omission of a claim that would have entitled Crawford to a

new trial, was reasonable. See, e.g., Williams v. Taylor, 529 U.S. 326, 395 (2000)

(finding counsel’s penalty phase representation deficient where counsel

“competently handled the guilt phase of the trial”); Rompilla v. Beard, 545 U.S. 374,

381-82 (2005) (counsel was ineffective despite performing some mitigation

                                          26
       Case: 20-61019     Document: 160        Page: 40   Date Filed: 07/31/2023




investigation that revealed “nothing useful”); Sears v. Upton, 561 U.S. 945, 955

(2010) (“counsel’s effort to present some mitigation evidence” does not foreclose

“inquiry into whether a facially deficient mitigation investigation might have

prejudiced the defendant”); Hinton v. Alabama, 571 U.S. 263, 268 (2014) (counsel

ineffective where he “made an extensive search for a well-regarded expert” but

selected an unqualified one). Given the egregious nature of the trial court’s Ake

violation and the number of favorable Ake opinions from the Mississippi Supreme

Court, there is only one answer: no.

      Prejudice is also clear. Just as in Isham, Lowe, and Brown, where “the State

relie[d] on expert testimony alone to prove . . . an element” of its case, Isham, 161

So.3d at 1083, the State here relied on two experts to meet its burden of proving

Crawford’s sanity, but Crawford was denied the ability to build a defense and rebut

the State’s experts. See Hearn v. State, 3 So.3d 722, 738 (Miss. 2008); Brown, 152

So.3d at 1166; see pp. 7-12, supra. Crawford was deprived of his rights under Ake

and Strickland, and there is no reasonable basis on which the state court could have

reached a contrary conclusion.

II.   Crawford’s trial attorney was ineffective for failing to obtain expert
      assistance in support of the insanity defense.

      If this en banc Court were nonetheless to agree with the panel that Crawford’s

trial counsel failed to preserve his Ake claim and that this failure absolves appellate

counsel’s failure to raise the claim, that would not justify denying habeas relief. It
                                          27
       Case: 20-61019     Document: 160        Page: 41   Date Filed: 07/31/2023




would instead require the Court to conclude that trial counsel’s failure to preserve

that self-evidently meritorious claim, and concomitant failure to obtain and present

expert testimony to support the insanity defense, was itself ineffective assistance.

      A.     The panel failed to apply Strickland’s clearly established law.
      The panel offered two justifications for rejecting Crawford’s alternative

ineffective assistance argument—trial counsel performed effectively in other

respects and could have made a reasonable strategic decision to forego expert

testimony to establish an insanity defense. But, under clearly established Supreme

Court precedent, neither ground presents a “reasonable basis for the state court to

deny relief.” Harrington v. Richter, 562 U.S. at 98.

      The first of those reasons violates clearly established Supreme Court law in

two dispositive respects. The panel required Crawford to establish that he was in no

better position than one who has no counsel at all. Op.10. As demonstrated,

however, that is not the test under Strickland. See pp. 23-25, supra. Crawford’s

burden was to establish that counsel’s performance was deficient under prevailing

professional standards, and he met that burden.

      In the same vein, the panel’s reliance on trial counsel’s adequate performance

on other issues has no bearing on whether he performed deficiently by failing to

preserve a meritorious Ake claim and failing to obtain expert testimony to prove

insanity. See pp. 26-27, supra. Strickland recognizes that counsel’s deficient


                                          28
       Case: 20-61019      Document: 160        Page: 42   Date Filed: 07/31/2023




performance violates the Sixth Amendment when it likely had an “effect on the

judgment”—and deficient performance with respect to one defense can affect “the

judgment” regardless of counsel’s performance with respect to other defenses. 466

U.S. at 691. Because Crawford’s meritorious Ake claim would have certainly

resulted in vacatur of his conviction, any failure to preserve that claim self-evidently

would have changed the judgment in his case. See also Hammond v. Hall, 586 F.3d

1289, 1324 n.12 (11th Cir. 2009) (“An industrious effort on behalf of his client on

other fronts does not bar a claim that trial counsel rendered ineffective assistance in

one or more specific ways.”).

      The panel’s alternative conclusion that trial counsel could have made an

“adequate strategic choice” to establish an insanity defense based solely on lay

testimony is also irreconcilable with clearly established Supreme Court precedent,

and there is no reasonable basis on which the state court could have concluded

otherwise.

      Counsel’s strategic choices are deemed reasonable only if based on an

investigation sufficient to enable counsel to make a reasonably informed decision.

Indeed, it has been clearly established for decades that a reviewing court must

evaluate “the reasonableness of [counsel’s] investigation said to support [their]

strategy.” Wiggins v. Smith, 539 U.S. 510, 527 (2003); see also Williams, 529 U.S.




                                           29
       Case: 20-61019      Document: 160        Page: 43     Date Filed: 07/31/2023




at 396; Strickland, 466 U.S. at 690-91; Lockett v. Anderson, 230 F.3d 695, 714 (5th

Cir. 2000).

      There is no reasonable basis on which the state courts could have concluded

that trial counsel investigated Crawford’s mental health history sufficiently to justify

forgoing an expert to establish an insanity defense. Crawford’s substitute counsel,

Pannell, knew that Crawford experienced seizures and might have brain damage.

The Timber Hills Mental Health Center evaluation stated that a seizure disorder

could explain Crawford’s memory deficits on the night of the crime. ROA.2899.

Crawford’s pretrial jail and medical records documented multiple seizures and

blackouts that required hospitalization and various medications, including an anti-

seizure medication.     ROA.3029-34, 3037-58.              Family members and friends

described symptoms consistent with brain damage. ROA.1647-50, 1661, 1673-73,

2873, 2918, 2923-32.      Kelly Roberts and her friend testified that Crawford’s

personality and appearance changed abruptly around the time of the offense.

ROA.2543-46, 2594, 2599, 2605-06.

      Even more to the point, two experts told Pannell that Crawford’s seizures and

blackouts could be evidence of brain damage. In May 1993, Dr. Hutt wrote an

affidavit stating that Crawford’s recent seizures “could possibly be caused by

organic brain damage resulting from a severe head injury he suffered in his late

teens.” ROA.3009. Dr. Mark Webb, hired by Crawford’s sister, told trial counsel

                                           30
       Case: 20-61019     Document: 160        Page: 44   Date Filed: 07/31/2023




that Crawford showed signs of organic brain damage. ROA.3161. Both urged

counsel to arrange for additional neurological and neuropsychological testing.

ROA.1043, 3009, 3161.

      Pannell, however, did not do so. And the reason he gave forecloses any

reasonable basis to conclude that his performance was not ineffective. He believed

that the trial court would “force [him] to use the experts at the Mississippi State

Hospital—the very same experts that would testify for the State.” ROA.3165. But

under Ake, Crawford had the right to an expert to assist in the “evaluation,

preparation, and presentation of the defense,” 470 U.S. at 83, and state doctors who

are not working for the defense do not satisfy that right. McWilliams, 137 S. Ct.

1793. As the Supreme Court has held, “ignorance of a point of law that is

fundamental to [counsel’s] case” is a “quintessential example” of deficient

performance under Strickland. Hinton, 571 U.S. at 274; see also Williams v. Taylor,

529 U.S. 326, 395 (2000); Canales v. Stephens, 765 F.3d 551, 569 (5th Cir. 2014).

      Nor is there any other basis for concluding that Pannell acted reasonably in

failing to investigate Crawford’s seizures and brain damage.          At the time of

Crawford’s trial, it was well established that “a criminal defense attorney has a duty

to investigate a client’s medical history when it becomes clear that the client is

suffering from mental difficulties rendering him insane or incompetent to stand

trial.” Miller v. Dretke, 420 F.3d 356, 364 (5th Cir. 2005) (citing Bouchillion v.

                                          31
       Case: 20-61019      Document: 160        Page: 45   Date Filed: 07/31/2023




Collins, 907 F.2d 589 (5th Cir. 1990); Profitt v. Waldron, 831 F.2d 1245 (5th Cir.

1987); Beavers v. Balkom, 636 F.2 114 (5th Cir. 1981)). And it was clear that expert

assistance is “a virtual necessity if an insanity plea is to have any chance of success.”

Ake, 470 U.S. at 81. This was obvious not just from Ake, but also from Mississippi

Supreme Court decisions underscoring the importance of expert testimony in

insanity cases, see Johnson v. State, 475 So.2d 1136, 146-47 (Miss. 1985), and from

this Court’s decisions finding counsel ineffective for failing to consult with

appropriate mental health experts as part of their investigation. See Lockett v.

Anderson, 230 F.3d 695, 713-15 (5th Cir. 2000) (counsel ineffective for failing to

investigate and present evidence of organic brain damage, where expert

recommended investigation, and failure to investigate prevented “informed

decision” on whether to present insanity evidence); Bouchillion, 907 F.2d at 596-97

(counsel ineffective for failing to investigate insanity defense when counsel knew of

client’s prior hospitalizations); Beavers, 636 F.2d at 116.

      The panel erroneously held that counsel made a reasonable strategic choice to

forgo expert testimony because expert testimony was not successful in Crawford’s

aggravated assault trial. Id. at 991. But this supposed “choice” does not remedy

counsel’s failure to investigate Crawford’s neurological health. To the contrary, the

expert testimony offered in the assault trial was limited precisely because the expert

could not perform the tests Pannell was told were necessary. ROA.1043, 3009. If

                                           32
       Case: 20-61019     Document: 160        Page: 46   Date Filed: 07/31/2023




anything, the lack of success when offering this constrained testimony further shows

how imperative an investigation was. Moreover, the panel’s retroactive justification

is absent from Pannell’s affidavit, which states that he did not get expert assistance

for the rape trial due to the mistaken belief that he would have to use the State’s

experts. ROA.3165.

      B.     Counsel’s deficient performance prejudiced Crawford.

      Prejudice is also indisputable. A failure to preserve the Ake claim standing

alone was prejudicial.    Had that claim been preserved and presented to the

Mississippi Supreme Court, there is at least a reasonable likelihood that Crawford’s

conviction would have been vacated. See pp. 22-23, 27, supra. Moreover, had

counsel heeded the advice of Drs. Hutt and Webb by having Crawford undergo

neurological and neuropsychological testing, there is, at the very least, a reasonable

probability that Pannell would have been able to present the jury with compelling

evidence of Crawford’s insanity. See Strickland, 466 U.S. at 696.

      The report and affidavit of Dr. Nadkarni, submitted in the postconviction

proceeding, make clear that Crawford had severe brain damage and temporal lobe

epilepsy, “compounded by severe abuse and neglect as a child,” ROA.2492; see pp.

13-14, supra. Dr. Nadkarni further found that, at the time of the offense, “Crawford

was laboring under such a defect of reason from his seizure disorder that he did not

understand the nature and quality of his acts.” ROA.2494. And Dr. Nadkarni


                                          33
       Case: 20-61019     Document: 160        Page: 47   Date Filed: 07/31/2023




rebutted the State expert’s opinion that Crawford’s behavior was due to an antisocial

personality. ROA.2920.

      Had counsel conducted a reasonable investigation and developed expert

testimony along these lines for trial, he would have been able to provide the jury

with compelling evidence of insanity that would have rebutted the State’s contention

that Crawford simply had a personality disorder and was malingering his memory

deficits. ROA.2920. Such evidence would have materially changed the evidentiary

picture because Crawford’s lay witnesses could not offer a medical explanation for

Crawford’s behavior, or even tell the jury that Crawford was seriously mentally ill.

ROA.1648-49, 1653, 1678-79, 1682, 1687. Indeed, because Crawford did not have

his own expert, the State was able to argue in closing that Crawford’s lay witnesses

could not raise a doubt about Crawford’s sanity. ROA.1819. Accordingly, there is

a reasonable probability the outcome of Crawford’s trial would have been different

had counsel investigated and presented evidence of his seizure disorder and brain

damage.

      The prejudice in this case is particularly clear because once Crawford had

raised reasonable doubt as to his sanity (which he could have done with the expert

testimony presented in postconviction proceedings), the burden would have shifted

to the State to prove his sanity beyond a reasonable doubt. See Roundtree v. State,

568 So. 2d 1173, 1181 (Miss. 1990). This Court has relied on such burden shifting

                                          34
        Case: 20-61019     Document: 160        Page: 48   Date Filed: 07/31/2023




to find prejudice when counsel has failed to investigate an insanity defense in similar

circumstances. Profitt, 831 F.2d at 1249-50. The same conclusion is warranted

here.

III.    This Court should not adopt the panel’s unprecedented requirement of
        factual innocence as a prerequisite to habeas relief.

        The panel departed from the text of the habeas statute and centuries of habeas

law in its unprecedented alternative holding that no habeas petitioner—even one

whose conviction or sentence is unconstitutional under clearly established law—is

entitled to relief unless he can make a colorable showing of factual innocence. Such

a requirement would fundamentally alter the nature and scope of the writ of habeas

corpus: both under English law, and as construed in over 150 years of Supreme Court

decisions, the writ focuses on the lawfulness of a petitioner’s detention, not his

innocence or guilt. From the very first habeas statutes, concededly guilty petitioners

have obtained relief, and the Supreme Court has repeatedly rejected arguments that

those statutes impose any innocence requirement.            Congress has ratified that

consistent interpretation by repeatedly recodifying the habeas statute, including in

AEDPA. It is thus clear that courts lack authority to rewrite the federal habeas

statute by imposing an atextual, ahistorical innocence requirement that would deny

relief even to petitioners—like Mr. Crawford—who can demonstrate that their

detention is unlawful.


                                           35
       Case: 20-61019     Document: 160        Page: 49   Date Filed: 07/31/2023




      A.     An innocence requirement cannot be reconciled with Section
             2254’s text.
      The panel’s innocence requirement has no textual basis. Section 2254(a) sets

forth the substantive standard for granting relief to a prisoner in state custody: the

court may grant relief “only on the ground that he is in custody in violation of the

Constitution or laws or treaties of the United States.” 28 U.S.C. § 2254(a); see 28

U.S.C. § 2241(c)(3). Congress authorized habeas relief if the prisoner’s custody is

unlawful; the statute does not require proof of innocence.

      Section 2254(a)’s silence as to innocence is hardly surprising in light of

bedrock constitutional principles—principles that would have led Congress to

expect that guilty petitioners would be eligible for, and receive, habeas relief in

appropriate circumstances. The constitutional protections attending the criminal

process have always been understood to protect the guilty as well as the innocent.

See, e.g., Ex parte Garland, 71 U.S. 333, 346-47, 367 (1866); Ex parte Milligan, 71

U.S. 2, 132 (1866) (Chase, C.J., concurring) (“The laws which protect the liberties

of the whole people must not be violated or set aside in order to inflict, even upon

the guilty, unauthorized though merited justice.”); Brown v. Walker, 161 U.S. 591,

627 (1896); Hill v. Texas, 316 U.S. 400, 406 (1942)). In providing that a petitioner

may be granted relief if he demonstrates that he is in custody in violation of the

Constitution, Congress would certainly have understood based on this long and

unbroken historical tradition that guilty petitioners as well as innocent ones would
                                          36
       Case: 20-61019    Document: 160        Page: 50   Date Filed: 07/31/2023




be able to demonstrate that they were unlawfully in custody. Had Congress intended

to restrict habeas relief for prisoners unable to make a showing of innocence, it

would have done so explicitly.

      The absence of any textual indication that Congress wanted to condition

habeas relief on innocence is all the more striking given that Congress did impose

an innocence requirement in order to overcome the statutory provisions barring

review of procedurally defaulted claims. See 28 U.S.C. § 2244(b)(2)(B) (barring

claims presented for the first time in a successive habeas petition unless the

underlying facts “would be sufficient to establish by clear and convincing evidence”

that “no reasonable factfinder would have found the applicant guilty”); id. §

2254(e)(2)(B). Those provisions incorporate the pre-AEDPA miscarriage-of-justice

exception that the Supreme Court recognized when it initially crafted procedural-

default rules. McQuiggin v. Perkins, 569 U.S. 383, 395-96 (2013). Congress thus

knew how to require a showing of innocence—but it chose to do so only where the

petitioner has procedurally defaulted his claims and therefore would otherwise

forfeit review.

      B.     History and precedent foreclose the panel’s reliance on Section
             2243’s provision that courts shall “dispose of the matter as law and
             justice require.”

      Notwithstanding Section 2254(a)’s lack of any textual indication that

innocence is a prerequisite to relief, the panel fastened upon Section 2243’s


                                         37
       Case: 20-61019      Document: 160        Page: 51   Date Filed: 07/31/2023




instruction that courts “shall . . . dispose of the matter as law and justice require,” 28

U.S.C. § 2243, to justify its innocence requirement.            The panel’s expressed

understanding of Section 2243 varied throughout its opinion—but no defensible

reading of Section 2243 supports imposing an innocence requirement.

      In some places, the panel asserted that Section 2243 itself requires denial of

relief to a petitioner who cannot show his innocence. Op.19 (“Crawford’s innocence

claim is not colorable, so law and justice would still require denying his petition.”).

That view cannot be reconciled with the centuries-long history of habeas corpus.

Throughout this country’s history, courts have granted habeas relief without regard

to innocence, and the Supreme Court repeatedly and definitively rejected arguments

that habeas relief requires proof of innocence. Congress’s comprehensive revision

of the habeas statute in AEDPA incorporates that definitive construction.

      Elsewhere, the panel suggested that Section 2243 delegates to the courts

permission to create a new innocence requirement out of whole cloth. Op.16. That

view, too, founders on history: requiring a showing of innocence would drastically

constrict the scope of the writ, and courts have never understood Section 2243 to

transfer from Congress to the courts the unbounded authority to make such sweeping

changes. The courts therefore do not have authority to deny habeas relief to

petitioners who have made the precise showing required by the habeas statute—that

they are detained unconstitutionally under clearly established law—or to close the

                                           38
       Case: 20-61019      Document: 160        Page: 52   Date Filed: 07/31/2023




courthouse doors to innumerable petitioners who, for centuries, have been able to

seek federal habeas review without regard to innocence.

             1.     The instruction that courts shall “dispose of the matter as law
                    and justice require” does not require, and has never
                    required, courts to deny habeas relief absent a showing of
                    innocence.

      Over 150 years of judicial construction establish that “law and justice” do not

“require” denying habeas relief to petitioners who cannot show innocence—and,

more broadly, that habeas relief has always been available without regard to

innocence.

      a.     In 1867, Congress extended the federal courts’ habeas jurisdiction to

prisoners in state custody and, for the first time, specified that the writ was available

upon a showing that the petitioner was restrained in “violation of the constitution.”

Act of Feb. 5, 1867, ch. 28, § I, 14 Stat. 385 (codified at 28 U.S.C. §§ 2241-2255

(1976)). In 1874, as part of a reenactment of the federal code that was intended to

leave unchanged the substance of federal law, Congress enacted Section 2243’s

predecessor, Rev. Stat. § 761, which provided that courts should dispose of the

“party as law and justice require.” See Rev. Stat. § 761; Kush v. Rutledge, 460 U.S.

719, 724 n.6 (1983); 2 Cong. Rec. 1210 (Feb. 2, 1874) (Statement of Rep. Poland).

      By that time, the Supreme Court had already established that habeas relief was

available without regard to the petitioner’s innocence. In Ex parte Lange, 85 U.S.

163 (1873), the Court upheld relief because the trial court had sentenced Lange to
                                           39
       Case: 20-61019      Document: 160        Page: 53   Date Filed: 07/31/2023




two punishments for a single offense, violating the Double Jeopardy Clause. Id. at

178. The Court left no doubt that innocence was not a prerequisite to granting relief:

the Court accepted that the petitioner was a “criminal” who was properly sentenced

to one punishment for the offense under a “valid” judgment of conviction. Id. at

173-74. When Congress first enacted the “law and justice” provision, then, existing

habeas law permitted relief without regard to innocence—and in enacting § 761,

Congress did not intend to make any substantive changes to existing law.4

      After § 761’s enactment, the Supreme Court reaffirmed that the provision did

not condition relief on innocence. In In re Medley, 134 U.S. 160 (1890), the Court

held that “law and justice” required granting complete release to a prisoner who was

concededly guilty of murder but had been convicted under an ex post facto state



4
  The panel asserted that for the “first 500 or so years of the writ’s existence” (that
is, under English common law), habeas “generally could not be used to challenge a
judgment of guilt.” Op.16. That is incorrect. As the authority on which the panel
relied establishes, by the 17th century, judges used the writ to review both the
lawfulness of custody before conviction, and also the legality of convictions and
sentences. Paul D. Halliday, Habeas Corpus: From England To Empire 116-21
(2010). Critically, in all cases the writ was concerned with the lawfulness of the
petitioner’s detention, not his innocence or guilt, and no showing of innocence was
required. See, e.g., id. at 118-20 (describing examples of habeas review of summary
convictions that were “contrary to law,” including because charges were vague, and
use of habeas writ to reduce sentences); Clarke D. Forsythe, The Historical Origins
of Broad Federal Habeas Review Reconsidered, 70 Notre Dame L. Rev. 1079, 1089,
1099-1100 (1995) (quoting Blackstone’s description of the writ as ensuring
lawfulness of detention); cf. Schneckloth v. Bustamonte, 412 U.S. 218, 257 (1973)
(Powell, J., concurring) (stating that “history reveals no exact tie of the writ of habeas
corpus to a constitutional claim relating to innocence or guilt.”).
                                           40
       Case: 20-61019       Document: 160        Page: 54   Date Filed: 07/31/2023




statute. Id. at 161-62. The Court concluded that even though the petitioner was

“nevertheless, guilty, as the record before us shows, of the crime of murder in the

first degree,” the proper disposition was to order release. Id. The Court thus found

that release was consistent with “law and justice” despite the petitioner’s guilt.

Accord In re Savage, 134 U.S. 176, 177 (1890).

      Medley was only one of an unbroken line of Supreme Court decisions

reaffirming that innocence was irrelevant to entitlement to habeas relief and

specifically to what “law and justice” require. In Moore v. Dempsey, 261 U.S. 86

(1923), the Court noted that the petitioners claimed they were innocent, but

explained that “we leave [that] on one side as what we have to deal with is not the

petitioners’ innocence or guilt but solely the question whether their constitutional

rights have been preserved.” Id. at 87-88; Frank v. Mangum, 237 U.S. 309, 334-35

(1915) (“the essential question before us . . . is not the guilt or innocence of the

prisoner, . . . but whether the state, taking into view the entire course of its procedure,

has deprived him of due process of law”). And in Cunningham v. Neagle, 135 U.S.

1 (1890), the Court explained that § 761’s instruction “‘to dispose of the party as law

and justice require’ . . . of course, means that if he is held in custody in violation of

the constitution or a law of the United States, or for an act done or omitted in

pursuance of a law of the United States, he must be discharged.” Id. at 41 (emphasis

added). The Court thus construed “law and justice” to require release upon a judicial

                                            41
       Case: 20-61019      Document: 160        Page: 55   Date Filed: 07/31/2023




conclusion that the petitioner’s custody was unlawful without regard to innocence—

the very opposite of how the panel read that same statutory language.

      Finally, in numerous cases, the Court granted habeas relief without

considering innocence. In Ex parte Wilson, 114 U.S. 417 (1885), the petitioner was

found guilty of counterfeiting, yet the Court—without considering innocence—

nonetheless found him “entitled to be discharged” because he had been sentenced

“without indictment or presentment by a grand jury.” 5 Id. at 429; Ex parte Nielsen,

131 U.S. 176, 190–91 (1889) (“the writ should have been granted, and the petitioner

discharged” because the sentence violated the Double Jeopardy Clause); see also

Johnson v. Zerbst, 304 U.S. 458, 469 (1938) (if petitioner “did not competently and

intelligently waive his right to counsel,” he is “entitled to have his petition granted”);

Moore, 261 U.S. at 92.

      b.     In 1948, Congress recodified § 761 and the remainder of the habeas

statute without substantive change, see 62 Stat. 689, 964-65, thereby ratifying the

Supreme Court’s conclusion that the statute’s “law and justice” language did not




5
  The Supreme Court recently described these early decisions as granting habeas
relief for “jurisdictional defects.” Brown v. Davenport, 142 S. Ct. 1510, 1521
(2022).     But the Court’s conception of “jurisdictional defects” included
constitutional errors, on the theory that such errors deprived the court of jurisdiction.
Ex parte Nielsen, 131 U.S. at 185; see also, e.g., Ex parte Wilson, 114 U.S. at 429.
However these decisions are characterized, the critical point is that they granted
relief without considering innocence.
                                           42
       Case: 20-61019     Document: 160        Page: 56   Date Filed: 07/31/2023




require proof of innocence. See Georgia v. Public.Resource.Org, Inc., 140 S. Ct.

1498, 1510 (2020) (when “Congress ‘adopt[s] the language used in [an] earlier act,’

we presume that Congress ‘adopted also the construction given by this Court to such

language, and made it a part of the enactment.’”); Shapiro v. United States, 335 U.S.

1, 16 (1948); Wingo v. Wedding, 418 U.S. 461, 468-69 (1974) (“The word changes

and omissions in Rev. Stat. [§] 761 were intended only as changes in form.”).

Committee reports related to the bill acknowledged the well-established

understanding that a showing of innocence was irrelevant:

      [Habeas corpus] is not a determination of guilt or innocence of the
      charge upon which petitioner was sentenced. Where a prisoner sustains
      his right to discharge in habeas corpus, it is usually because some
      right—such as lack of counsel—has been denied which reflects no
      determination of his guilt or innocence but affects solely the fairness of
      his earlier criminal trial. Even under the broad power in the statute to
      ‘dispose of the party as law and justice require,’ the court or judge is
      by no means in the same advantageous position in habeas corpus to do
      justice as would be so if the matter were determined in the criminal
      proceeding.

S. Rep. No. 80-1526, at 2 (1948) (emphasis added). The 1948 recodification

therefore reflects Congress’s definitive judgment that “law and justice” do not

“require” denying habeas relief absent a showing of innocence.

      c.     Between the 1948 recodification and the 1996 enactment of AEDPA,

the Supreme Court repeatedly rejected attempts to condition habeas relief on proof

of innocence. See, e.g., Kaufman v. United States, 394 U.S. 217 (1969). Congress’s

failure to amend Section 2243 or the “law and justice” language as part of its
                                          43
       Case: 20-61019     Document: 160        Page: 57   Date Filed: 07/31/2023




comprehensive revision of habeas corpus procedure in AEDPA therefore confirms

that the “law and justice” provision does not require a showing of innocence. It

would have been natural for the Congress that enacted AEDPA—which substantially

narrowed the scope of habeas relief based on Congress’s policy judgments about the

appropriate weight to be given to state interests in comity and finality—to require

proof of innocence in all cases had Congress thought such a requirement appropriate.

But Congress did no such thing. See Helsinn Healthcare S.A. v. Teva Pharms. USA,

Inc., 139 S. Ct. 628, 633-34 (2019).

      In Kaufman, the Court rejected Justice Black’s argument in dissent that the

“probable or possible innocence” of a petitioner should be given “weight in

determining whether a judgment . . . should be open to collateral attack” in light of

Section 2243’s reference to “law and justice.” 394 U.S. at 233-34 (Black, J.,

dissenting). In rejecting that argument, the Court observed that collateral relief

protects constitutional rights—including claims for illegal search and seizure, which

were at issue in the case—“whether or not they bear on the integrity of the fact-

finding process.” Id. at 229. The “possibility of innocence” therefore was not

relevant. Id.

      Although the Court subsequently limited the situations in which petitioners

may raise Fourth Amendment claims in postconviction proceedings, Stone v. Powell,

428 U.S. 465 (1976), the Court simultaneously reaffirmed that innocence is

                                          44
       Case: 20-61019      Document: 160        Page: 58   Date Filed: 07/31/2023




irrelevant to entitlement to relief.    In Stone, the Court held that because the

exclusionary rule is not a personal constitutional right, prudential considerations

justified limiting prisoners’ ability to enforce the exclusionary rule in postconviction

proceedings. Id. at 486, 493-94. The Court observed that excluding illegally seized

evidence sometimes results in a “windfall” for “the guilty”—yet the Court

nonetheless held that petitioners may bring such claims in federal habeas if they

lacked an opportunity to bring the same claim in state court. Id. at 492. Even in

limiting exclusionary-rule claims in habeas, then, Stone took as given that innocence

is irrelevant.

       Even more to the point, after Stone, the Supreme Court repeatedly rejected

arguments that the petitioner’s apparent guilt should bar relief. In Rose v. Mitchell,

the Court eschewed Justice Powell’s proposal to make habeas available only to

“protect the innocent from incarceration,” 443 U.S. 545, 587 (1979) (Powell, J.,

concurring), as well as the State’s argument that “habeas corpus relief should be

granted only where the error alleged in support of that relief affected the

determination of guilt.” Id. at 560. The Court acknowledged that permitting the

grand jury discrimination claims at issue could aid the “guilty in fact,” id. at 564, but

stated that habeas review was “necessary” to correct “constitutional defects” in the

grand jury process, id. at 563. Similarly, in Kimmelman v. Morrison, 477 U.S. 365,

368 (1986), the Court declined to exempt from habeas relief claims for ineffective

                                           45
       Case: 20-61019      Document: 160        Page: 59     Date Filed: 07/31/2023




assistance of counsel based on failure to move to suppress evidence. Kimmelman

rejected the argument that such claims do not vindicate innocence, “declin[ing] to

hold” that the principle that “[t]he constitutional rights of criminal defendants are

granted to the innocent and the guilty alike” is “altered simply because the right is

asserted on federal habeas review rather than on direct review.” Id. at 380.

      By the time Congress enacted AEDPA, then, the Court had repeatedly rejected

arguments, sometimes premised explicitly on Section 2243’s “law and justice”

provision, that habeas relief should be conditioned on a showing of innocence.

Congress is presumed to legislate with knowledge of that well-established

interpretation. See Evans v. United States, 504 U.S. 255, 259-60 (1992). When

Congress comprehensively revised the habeas statute but left Section 2243’s “law

and justice” provision unchanged, it presumptively intended to adopt the Supreme

Court’s established construction: “law and justice” do not “require” denying habeas

relief absent a showing of innocence. Accord Lafler v. Cooper, 566 U.S. 156, 168

(2012) (noting in AEDPA case that respondent established Sixth Amendment

violation despite “[t]he fact that respondent is guilty”).

             2.     Section 2243’s “law and justice” provision does not grant
                    courts discretion to create an innocence requirement or to
                    deny individual petitions for failure to show innocence.

      The panel alternatively suggested that Section 2243 grants courts “discretion”

to deny habeas relief “when the prisoner is factually guilty.” Op.16. That assertion


                                           46
       Case: 20-61019      Document: 160        Page: 60   Date Filed: 07/31/2023




is no more consistent with history and precedent than the panel’s more aggressive

claim that Section 2243 itself requires proof of innocence. Section 2243’s reference

to “law and justice” gives the courts discretion to fashion certain interstitial claims-

channeling rules. But in the 150 years since the “law and justice” provision was first

enacted, the Supreme Court has not once suggested that the provision confers on

courts (including the Supreme Court itself) the authority to rewrite the habeas

statute—and upend the balance Congress struck between protecting constitutional

rights and respecting state comity and finality interests—by requiring proof of

innocence.

      a.     Since the enactment of the Habeas Corpus Act of 1867, the habeas

statute has empowered federal courts to grant writs of habeas corpus “in all cases

where any person may be restrained of his or her liberty in violation of the

constitution, or any treaty or law of the United States.” Act of Feb. 5, 1867, ch. 28,

§ I, 14 Stat. 385; 28 U.S.C. § 2241(c). Although the statute has never directed courts

to grant relief upon a showing of constitutional error, see 28 U.S.C. § 2241, 2254,

the Supreme Court has never suggested that courts may deny relief where a

petitioner’s procedurally proper claims establish that his conviction or sentence

violates clearly established law. Quite the contrary: since 1867, the Court has

repeatedly held that once a petitioner whose claims are properly presented

demonstrates constitutional error, he is “entitled” to relief. See, e.g., Ex parte

                                           47
       Case: 20-61019      Document: 160        Page: 61   Date Filed: 07/31/2023




Nielsen, 131 U.S. at 184 (petitioner was “entitled to a [writ of] habeas corpus”

because state court “ha[d] no constitutional authority or power to condemn” him);

Medley, 134 U.S. at 173 (upon finding constitutional violation, it is “our duty to

order the release of the prisoner”); Wilson, 114 U.S. at 429 (same); Cunningham,

135 U.S. at 41; Johnson, 304 U.S. at 469 (upon constitutional violation, petitioner

is “entitled to have his petition granted”).

      Accordingly, the Supreme Court has historically construed Section 2243’s

instruction to dispose of habeas petitions “as law and justice require” consistently

with a petitioner’s “entitle[ment]” to relief upon a showing of unlawful detention.

Specifically, the Court has interpreted the provision to confer two limited forms of

discretion, neither of which permits courts to deny relief to petitioners with

meritorious, properly presented claims of unlawful detention. First, courts may

tailor habeas relief to the circumstances of the case, including by awarding relief

short of release. Wilkinson v. Dotson, 544 U.S. 74, 85 (2005). Second, the Court

has held that the “law and justice” provision enables it to “adjust the scope of the

writ” based on prudential considerations, including federalism and finality.

Danforth v. Minnesota, 552 U.S. 264, 278-79 (2008). All of the “adjust[ments]” the

Court has made have involved claims-channeling and other procedural rules that

govern the time and manner for bringing and proving habeas claims.                  E.g.,

McCleskey v. Zant, 499 U.S. 467 (1991) (historical abuse-of-the-writ doctrines bar

                                           48
       Case: 20-61019    Document: 160        Page: 62   Date Filed: 07/31/2023




repetitive petitions); Wainwright v. Sykes, 433 U.S. 72 (1977) (procedural default

arising from failure to raise claims at earliest opportunity); Brecht v. Abrahamson,

507 U.S. 619 (1993) (harmless-error standard that governs collateral review);

Coleman v. Thompson, 501 U.S. 722, 730 (1991) (petitions may be barred by

adequate, independent state procedural grounds); Teague v. Lane, 489 U.S. 288,

305–310 (1989) (generally speaking, law at the time of the conviction should apply

to habeas claims). Many of these procedural limitations had longstanding roots in

habeas jurisprudence. See Wainwright, 433 U.S. 80. Others (such as the Teague

and Brecht rules) elaborated on how courts should determine whether a petitioner

was “in custody in violation of the Constitution”—that is, what law applies to that

determination. All predated AEDPA, and thus could be viewed as implicitly

approved by Congress, to the extent AEDPA did not expressly incorporate them. 6

      Although Stone differs from those decisions—it limited exclusionary-rule

claims in habeas—Stone does not suggest that the courts possess unbounded

discretion to foreclose constitutional claims regardless of merit. The Stone Court

emphasized that it was not “concerned with the scope of the habeas corpus statute




6
  The only situation in which the Court has suggested that a showing of “actual
innocence” is relevant is when a petitioner uses that showing to overcome some of
these otherwise-applicable procedural barriers. Murray v. Carrier, 477 U.S. 478,
497 (1986); Kuhlmann v. Wilson, 477 U.S. 436, 454 (1986) (Powell, J., plurality
opinion).
                                         49
       Case: 20-61019     Document: 160        Page: 63   Date Filed: 07/31/2023




as authority for litigating constitutional claims generally.” 428 U.S. at 494 n.37.

Rather, the Court’s decision was based on the fact that the exclusionary rule is not a

“personal constitutional right,” id. at 486, but instead a “judicially created means of

[protecting] the rights secured by the Fourth Amendment,” id. at 482, which freed

the Court to adjust the scope of the rule itself by “balancing” costs and benefits, id.

at 488. As discussed above, moreover, the Court did not suggest that innocence was

relevant to habeas relief—and indeed Stone contemplates that likely guilty

petitioners may raise exclusionary-rule claims in federal court if they have not had

the opportunity to do so in prior state proceedings. See pp. 44-45, supra. Later

decisions have confirmed the narrowness of Stone’s holding—and explained that the

Court would not have comparable discretion to limit habeas relief with respect to

other constitutional claims that lack the unique features of the exclusionary rule.

Kimmelman, 477 U.S. at 379.

      b.     Thus, the Supreme Court has never suggested that the “law and justice”

provision gives courts the authority to deny relief to habeas petitioners without

regard to whether they can demonstrate through properly presented claims that they

are “in custody in violation of the Constitution.”        28 U.S.C. § 2241.        More

specifically, the Supreme Court has never suggested that courts would have authority

to impose an innocence requirement. To the contrary, the “lack of historical

precedent” for a claimed authority, “coupled with the breadth of [that] authority,” is

                                          50
       Case: 20-61019          Document: 160        Page: 64   Date Filed: 07/31/2023




strong evidence that the authority does not exist. NFIB v. OSHA, 142 S. Ct. 661,

666 (2022) (quoting Free Enterprise Fund v. PCAOB, 561 U.S. 477, 505 (2010))

(construing scope of statutory grant of authority). Here, 150 years of unbroken

precedent leaves no doubt. The Supreme Court’s failure even to hint, over that entire

time, that the habeas statute grants authority to require innocence, “is a ‘telling

indication’” that imposing an innocence requirement, or denying an individual

petition for failure to show innocence, would extend beyond the courts’ “legitimate

reach.” Id.; United States v. Texas, 143 S. Ct. 1964, 1970 (2023). Given that the

Supreme Court has never thought it had the authority to impose an innocence

requirement under Section 2243, it is difficult to see how a court of appeals could

do so in the first instance.

       Moreover, the authority claimed by the panel could hardly be more sweeping.

NFIB, 142 S. Ct. at 666. An innocence requirement would upend the traditional

nature and scope of federal habeas corpus. For centuries, federal courts have granted

habeas relief to petitioners whose procedurally proper claims demonstrate that they

are unconstitutionally held, without regard to innocence. See pp. 39-46, supra.

Imposing an innocence requirement would cast aside that entrenched historical

understanding and slam shut the courthouse doors to innumerable petitioners who

have always enjoyed access to federal-court review of properly presented claims.




                                               51
       Case: 20-61019     Document: 160        Page: 65   Date Filed: 07/31/2023




      c.     Even if Section 2243 theoretically conferred on courts discretion to

impose an innocence requirement, this Court should not take that dramatic and

draconian step. The Supreme Court has repeatedly held in the context of similar

statutory provisions that “discretion is not whim,” and must always be guided by

“sound legal principles.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 103

(2016) (citing cases). For all the reasons stated above, requiring innocence would

fundamentally alter the nature and availability of the writ and break from over a

century of shared judicial and congressional understanding.              Fundamental

separation-of-powers principles dictate that whether to take such a momentous step

is for Congress, and not the judiciary, to decide.

      That conclusion is reinforced by the fact that the finality and federalism

justifications given by the panel do not justify an innocence requirement. To be sure,

an innocence requirement might be said to further those interests, through the blunt

mechanism of truncating the scope of federal habeas. But the Court may not weigh

finality and federalism concerns in a manner that conflicts with the principles

animating the habeas statute. Congress’s foundational premise in enacting the

statute, reflected in its provision that a state prisoner may be released upon showing

that his conviction or sentence was unconstitutionally imposed, is that finality and

federalism concerns must give way in the face of properly presented constitutional

error. See Hill, 316 U.S. at 406 (state, like federal government, has a “duty” to

                                          52
       Case: 20-61019      Document: 160        Page: 66   Date Filed: 07/31/2023




ensure constitutional process); Herrera v. Collins, 506 U.S. 390, 421 (1993)

(emphasizing finality interests that arise from a proceeding that has been adjudicated

“constitutionally adequate”). That is no doubt why the Supreme Court has over time

created procedural guardrails that protect finality (by limiting petitioners’ ability to

file multiple petitions, revive old claims, and assert defaulted claims), and that

protect federalism by requiring petitioners to abide by state procedural rules (see pp.

48-49, supra). But the Court has never suggested that finality or federalism could

justify denying relief to state prisoners who properly presented and proved that their

conviction or sentence violated the Constitution but could not show innocence.

      C.     Recent Supreme Court cases do not support the panel’s actual-
             innocence requirement.

      Finally, the panel relied on passing statements in Brown v. Davenport and

Shinn v. Ramirez to justify its innocence requirement. But those decisions do not

support the kind of radical change the panel adopted.

      In Brown v. Davenport, 142 S. Ct. 1510 (2022), the Supreme Court held that

a habeas corpus petitioner must satisfy both 28 U.S.C. § 2254(d) and the Brecht

harmless error test to obtain relief. In dicta, the Court stated that Section 2243 gave

courts authority to adjust the scope of the writ in light of equitable concerns, and that

the foremost concern was the States’ “powerful and legitimate interest in punishing

the guilty.” Id. at 1523. That oblique reference does not implicitly reverse 150 years

of Supreme Court decisions holding that innocence is irrelevant to relief. And in
                                           53
       Case: 20-61019     Document: 160        Page: 67   Date Filed: 07/31/2023




any event, the decisions that Brown quoted for that proposition were discussing the

States’ interest in finality—that is, their interest in punishing those adjudged guilty

after “lengthy federal [habeas] proceedings have run their course.” Calderon v.

Thompson, 523 U.S. 538, 556 (1998) (emphasis added).              Justice O’Connor’s

concurrence in Herrera v. Collins, quoted by Calderon, is even clearer on this point.

506 U.S. at 420 (O’Connor, J., concurring). There, Justice O’Connor explained that

a petitioner who claimed actual innocence was “legally guilty” despite that claim,

because he had been validly tried and convicted without constitutional error. Id.

Justice O’Connor thus emphasized the States’ interest in punishing those whose

convictions have withstood a constitutional challenge in federal habeas proceedings.

      The panel also cited statements in both Davenport and Shinn to the effect that

a petitioner must “persuade a federal habeas court that law and justice require”

granting relief. Shinn v. Ramirez, 142 S. Ct. 1718, 1731 (2022) (quoting Davenport,

142 S. Ct. at 1524); Op.14. That statement is even further afield. In both decisions,

the Court was making the point that habeas petitioners must comply with both

AEDPA’s procedural requirements and the longstanding procedural doctrines (such

as Brecht and procedural default) that the Court has traditionally exercised discretion

to craft. See pp. 48-49, 53, supra; Shinn, 142 S. Ct. at 1732 (discussing procedural

default); Davenport, 142 S. Ct. at 1524 (Brecht). That discretion does not extend to




                                          54
       Case: 20-61019        Document: 160        Page: 68   Date Filed: 07/31/2023




wholesale revision of the basic premises of the habeas remedy, for the reasons stated

above—and the Court did not suggest otherwise.

                                    CONCLUSION

      The district court’s denial of Crawford’s § 2254 petition for habeas corpus

relief should be reversed.

Date: July 31, 2023                           Respectfully submitted,

                                              /s/ Donald B. Verrilli, Jr.
Vanessa J. Carroll                            Donald B. Verrilli, Jr.
Patrick Mulvaney                              Ginger D. Anders
Southern Center for Human Rights              MUNGER, TOLLES & OLSON LLP
60 Walton Street NW                           601 Massachusetts Ave., NW
Atlanta, GA 30303                             Suite 500E
P: (404) 688-1202                             Washington, DC 20001
F: (404) 688-9440                             P: (202) 220-1100
vcarroll@schr.org                             F: (202) 220-2300
                                              Donald.Verrilli@mto.com

                             Counsel for Petitioner-Appellant




                                             55
      Case: 20-61019     Document: 160        Page: 69   Date Filed: 07/31/2023




                        CERTIFICATE OF SERVICE

      I certify that on July 31, 2023, the foregoing document was served on all

parties or their counsel of record through the CM/ECF system.

Date: July 31, 2023                       /s/ Donald B. Verrilli, Jr.
                                          Donald B. Verrilli, Jr.
                                          Munger, Tolles & Olson LLP
                                          601 Massachusetts Ave., NW
                                          Suite 500E
                                          Washington, DC 20001
                                          P: (202) 220-1100
                                          F: (202) 220-2300
                                          Donald.Verrilli@mto.com
                                          Counsel for Petitioner-Appellant




                                         56
       Case: 20-61019    Document: 160        Page: 70   Date Filed: 07/31/2023




                      CERTIFICATE OF COMPLIANCE

      1.    This document complies with the word limit of Fed. R. App. P.

32(a)(7)(B), because, excluding the parts of the document exempted by Fed. R. App.

P. 32(f), this document contains 12,972 words.

      2.    This document complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because this

document has been prepared in a proportionally spaced typeface using Microsoft

Word in 14 point, Times New Roman.

Date: July 31, 2023                       /s/ Donald B. Verrilli, Jr.
                                          Donald B. Verrilli, Jr.
                                          Munger, Tolles & Olson LLP
                                          601 Massachusetts Ave., NW
                                          Suite 500E
                                          Washington, DC 20001
                                          P: (202) 220-1100
                                          F: (202) 220-2300
                                          Donald.Verrilli@mto.com
                                          Counsel for Petitioner-Appellant




                                         57
Case: 20-61019   Document: 160   Page: 71   Date Filed: 07/31/2023




                  ADDENDUM
          Case: 20-61019              Document: 160              Page: 72        Date Filed: 07/31/2023




                                       TABLE OF CONTENTS


28 U.S.C. § 2241 ...................................................................................... 1a

28 U.S.C. § 2243 ...................................................................................... 2a

28 U.S.C. § 2244(b)(2).............................................................................. 3a

28 U.S.C. § 2254(a), (d), (e) ..................................................................... 4a

Act of Feb. 5, 1867, ch. 28, § I, 14 Stat. 385 ........................................................... 6a

Rev. Stat. § 761 ........................................................................................................ 7a




                                                             i
      Case: 20-61019    Document: 160        Page: 73   Date Filed: 07/31/2023




                             28 U.S.C. § 2241
                           Power to grant writ

(a) Writs of habeas corpus may be granted by the Supreme Court, any
justice thereof, the district courts and any circuit judge within their
respective jurisdictions. The order of a circuit judge shall be entered in
the records of the district court of the district wherein the restraint
complained of is had.

(b) The Supreme Court, any justice thereof, and any circuit judge may
decline to entertain an application for a writ of habeas corpus and may
transfer the application for hearing and determination to the district
court having jurisdiction to entertain it.

(c) The writ of habeas corpus shall not extend to a prisoner unless--

(1) He is in custody under or by color of the authority of the United States
or is committed for trial before some court thereof; or

(2) He is in custody for an act done or omitted in pursuance of an Act of
Congress, or an order, process, judgment or decree of a court or judge of
the United States; or

(3) He is in custody in violation of the Constitution or laws or treaties of
the United States; or

(4) He, being a citizen of a foreign state and domiciled therein is in
custody for an act done or omitted under any alleged right, title,
authority, privilege, protection, or exemption claimed under the
commission, order or sanction of any foreign state, or under color thereof,
the validity and effect of which depend upon the law of nations; or

(5) It is necessary to bring him into court to testify or for trial.

(d) Where an application for a writ of habeas corpus is made by a person
in custody under the judgment and sentence of a State court of a State
which contains two or more Federal judicial districts, the application may
be filed in the district court for the district wherein such person is in


                                        1a
      Case: 20-61019   Document: 160        Page: 74   Date Filed: 07/31/2023




custody or in the district court for the district within which the State
court was held which convicted and sentenced him and each of such
district courts shall have concurrent jurisdiction to entertain the
application. The district court for the district wherein such an application
is filed in the exercise of its discretion and in furtherance of justice may
transfer the application to the other district court for hearing and
determination.

(e)(1) No court, justice, or judge shall have jurisdiction to hear or
consider an application for a writ of habeas corpus filed by or on behalf of
an alien detained by the United States who has been determined by the
United States to have been properly detained as an enemy combatant or
is awaiting such determination.

(2) Except as provided in paragraphs (2) and (3) of section 1005(e) of the
Detainee Treatment Act of 2005 (10 U.S.C. 801 note), no court, justice, or
judge shall have jurisdiction to hear or consider any other action against
the United States or its agents relating to any aspect of the detention,
transfer, treatment, trial, or conditions of confinement of an alien who is
or was detained by the United States and has been determined by the
United States to have been properly detained as an enemy combatant or
is awaiting such determination.

                          28 U.S.C. § 2243
             Issuance of writ; return; hearing; decision

A court, justice or judge entertaining an application for a writ of habeas
corpus shall forthwith award the writ or issue an order directing the
respondent to show cause why the writ should not be granted, unless it
appears from the application that the applicant or person detained is not
entitled thereto.

The writ, or order to show cause shall be directed to the person having
custody of the person detained. It shall be returned within three days
unless for good cause additional time, not exceeding twenty days, is
allowed.




                                       2a
      Case: 20-61019   Document: 160        Page: 75   Date Filed: 07/31/2023




The person to whom the writ or order is directed shall make a return
certifying the true cause of the detention.

When the writ or order is returned a day shall be set for hearing, not
more than five days after the return unless for good cause additional time
is allowed.

Unless the application for the writ and the return present only issues of
law the person to whom the writ is directed shall be required to produce
at the hearing the body of the person detained.

The applicant or the person detained may, under oath, deny any of the
facts set forth in the return or allege any other material facts.

The return and all suggestions made against it may be amended, by leave
of court, before or after being filed.

The court shall summarily hear and determine the facts, and dispose of
the matter as law and justice require.

                            28 U.S.C. § 2244
                       Finality of determination

                                  ***

(b)

                                  ***

(2) A claim presented in a second or successive habeas corpus application
under section 2254 that was not presented in a prior application shall be
dismissed unless--

(A) the applicant shows that the claim relies on a new rule of
constitutional law, made retroactive to cases on collateral review by the
Supreme Court, that was previously unavailable; or




                                       3a
      Case: 20-61019   Document: 160        Page: 76   Date Filed: 07/31/2023




(B)(i) the factual predicate for the claim could not have been discovered
previously through the exercise of due diligence; and

(ii) the facts underlying the claim, if proven and viewed in light of the
evidence as a whole, would be sufficient to establish by clear and
convincing evidence that, but for constitutional error, no reasonable
factfinder would have found the applicant guilty of the underlying
offense.

                                  ***

                          28 U.S.C. § 2254
             State custody; remedies in Federal courts

(a) The Supreme Court, a Justice thereof, a circuit judge, or a district
court shall entertain an application for a writ of habeas corpus in behalf
of a person in custody pursuant to the judgment of a State court only on
the ground that he is in custody in violation of the Constitution or laws
or treaties of the United States.

                                  ***

(d) An application for a writ of habeas corpus on behalf of a person in
custody pursuant to the judgment of a State court shall not be granted
with respect to any claim that was adjudicated on the merits in State
court proceedings unless the adjudication of the claim--

(1) resulted in a decision that was contrary to, or involved an
unreasonable application of, clearly established Federal law, as
determined by the Supreme Court of the United States; or

(2) resulted in a decision that was based on an unreasonable
determination of the facts in light of the evidence presented in the State
court proceeding.

(e)(1) In a proceeding instituted by an application for a writ of habeas
corpus by a person in custody pursuant to the judgment of a State court,
a determination of a factual issue made by a State court shall be


                                       4a
      Case: 20-61019   Document: 160        Page: 77   Date Filed: 07/31/2023




presumed to be correct. The applicant shall have the burden of rebutting
the presumption of correctness by clear and convincing evidence.

(2) If the applicant has failed to develop the factual basis of a claim in
State court proceedings, the court shall not hold an evidentiary hearing
on the claim unless the applicant shows that--

(A) the claim relies on--

(i) a new rule of constitutional law, made retroactive to cases on collateral
review by the Supreme Court, that was previously unavailable; or

(ii) a factual predicate that could not have been previously discovered
through the exercise of due diligence; and

(B) the facts underlying the claim would be sufficient to establish by clear
and convincing evidence that but for constitutional error, no reasonable
factfinder would have found the applicant guilty of the underlying
offense.

                                    ***




                                       5a
Case: 20-61019   Document: 160        Page: 78   Date Filed: 07/31/2023




                                 6a
   Case: 20-61019               Document: 160                 Page: 79            Date Filed: 07/31/2023
              TITLE   xiii.-THE JUDICIARY.-CH. 12-13.                                              141

to the court to which it should have been sent had the clerk known the
residence of the detendant when the action was brought.
   SEC. 746. When the trial or hearing of any cause, civil or criminal, in   Causes in pro.
                                                                           gress of trialbynot
a circuit or district court, has been commenced and is in progress before discontinued         ar-
a jury or the court, it shall not be stayed or discontinued by the arrival rival of new term-
of the time fixed by law for another session of said court; and the court
may proceed therein and bring it to a conclusion, in the same manner          2 March, 1855, c.
                                                                           140,s. l,v. 10, p. 620.
and with the same effect as if another stated term of the court had not
intervened.
   SEC. 747. In all the courts of the United States the parties may plead Parties may man-
                                                                           age their ocauses
and manage their own causes personally, or by •the assistance of such p~ersonally          r by
counsel or attorneys at law as, by the rules of the said courts, respect- pcounel.
ively, are permitted to manage and conduct causes therein.                    24 Sept., 1789,0.
                                                                                              20, s. 35, v. 1, p. 92.
   SEC. 748. No clerk, assistant or deputy clerk, of any territorial, dis-     Certain officers
trict, or circuit court, or of the Court of Claims, or the Supreme Court forbidden       to prac-
                                                                           tice as attorneys,
of the United States, or marshal or deputy marshal of the United States & a.
within the district for which he is appointed, shall act as a solicitor,
proctor, attorney, or counsel in any cause depending in either of said 36,. 1,v. 17, p.411.
courts, or in any district for which he is acting as such officer.
   SEc. 749. Whosoever violates the preceding section shall be stricken       Penalty for rio-
from the roll of attorneys by the court upon complaint, upon which the lating preceding
 respondent shall have due notice, and be heard in his defense; and in section.
the case of a marshal or deputy marshal so acting, he shall be recom-          16 Jan., 1873, .
 mended by the court for dismissal from office.                            36, s. 2, v. 17, p. 411.
   SEC. 750. In equity and admiralty causes, only the process, pleadings, Final record, how
and decree, and such orders and memorandums as may be necessary to made in equity and
show the jurisdiction of the court and regularity of the proceedings, admiralty causes.
shall be entered upon the final record. see§69s.1                              26 Feb., 1853, c.
                                                                                              80, s. 1, v. 10, p. 163.



                  CHAPTER THIRTEEN.
                                HABEAS CORPUS.
                                          Sem
751. Power of courts to issue writs of 760. Denial of return, counter-allegations,
       habeas corpus.                            amendments.
752. Power of judges to grant writs of 761. Summary hearing; disposition of
       habeas corpus.                            party.
753. Writs of habeas corpus when prisoner 762. In cases involving the law of nations,
       is in jail.                               notice to be served on State attor-
754. Application for the writ of habeas          ney-general.
       corpus.                            763. Appeals in cases of habeas corpus to
755. Allowance and direction of the writ.        circuit court.
756. Time of return.                      764. Appeal to Supreme Court.
757. Form of return.                      765. Appeals, how taken.
758. Body of the party to be produced.    766. Pending proceedings in certain cases,
759. Day for hearing.                            action by State authority void.

  SEC. 751. The Supreme Court and the circuit and district courts shall Power of courts
                                                                       to issue writs of
have power to issue writs of habeas corpus.                            habeas corpus.
                      24 Sept., 1789, c. 20, s. 14, v. 1, p. 81. 10 April, 1869, c. 22, s. 2, v. 16, p. 44. 2 March,
                   1833, c.57, s. 7, v. 4,p. 634. 5 Feb.,1867, c. 28, s.1,v. 14, p. 385. 29 Aug.,1842, c. 257,s.
                   1, v.5, p. 539.-U. S. vs. Hamilton03 Dall., 17; Er parts Burford, 3 Cr., 448; Ex
                   parte Bollman, 4 Cr., 75; Ex parte Wilson, 6 Cr., 52; Ex parts Kearney, 7 Wh., 38; Ex
                   parte Watkins, 3 Pet., 193 ; E parteWatkins, 7 Pet., 568 ; Ex parteMilburn, 9 Pet., 704 ;
                   Holmes vs. Jennison, 14 Pet., 540; Ex parle Barry, 2 How., 65; Ex parte Dorr, 3 How.,
                   103; Barry vs. Mercein, 5 How., 103; In re Metzger, 5 How., 176; In re Kaine, 14 How.,
                   103; Fx parte Wells, 18 How., 307; Ex parte Milligan, 4 Wall., 2; Ex parte McCardle, 6
                   Wall., 318; Ex parteMcCardle, 7 Wall., 506; Exparle Yerger, 8 Wall., 85; ExparleLange.
                   18 Wall., 163; In re Heinrich, 5 Blatchf., 414; Ex parte Keeler, Hemps., 306; U. S. vs.
                   Williamson, 3 Am. Law Rep., 729; Bennet vs. Benuet, 1 Deady, 299; Ex parts Evarts, 7
                   Am. Law Rep., 79; Norris vs. Newton, 5 McLean, 22; U. S. vs. Rector, 5 McLean, 174;
                   Veremaitre's Case, 13 Law Rep., 608; Ex parte Sifford, 5 Am. Law R., 659; Ex parte Me-




                                                         7a
Case: 20-61019                    Document: 160            Page: 80    Date Filed: 07/31/2023
.142                                      TITLE   x        JUDLCIARY.--CH. 13.
                                                      -n.-T=E

Can, 14 Am. Law Rep., 158; U. S. vs. French, 1 Gallis, 1; Exparte Cheeney, 5 Law Rep.,
19; Ex parte Des Roches, 1 McAllis., 68; Ex 1arte Pleasants, 4 Cr. C. C., 314; Ex parte
Turner, 6 lut. Rev. Rec., 147 ; Ex p rte Jenkins, 2 Wall., jr., 521; Ex parte Robinson, 6
McLean, 355; Ex parte Smith, 3 McLean, 121; Meade's Case, 1 Brock., 324; U. S. vs. An-
derson, Cooke, 143.
  Power of judges      SEC. 752. The several justices and judges of the said courts, within
to grant writs of their respective jurisdictions, shall have power to grant writs of habeas
habeas corp s.       corpus for the purpose of an inquiry into the cause of restraint of liberty.
  24 Sept., 1789, c. 20, s. 14. v. 1, p. 81. 10 April, 1869, c. 22, s. 2, v. 16, p. 44. 2 March,
1833, c. 57, s. 7, v. 4, p. 634. 5 Feb., 1867, a. 28,s. 1, v. 14, p. 385. 29 Aug., 1842, c. 257, s.1,
v.5, p. 539.
  Writ of habeas             SEc. 753. The writ of habeas corpus shall in no case extend to a pris-
corpus when pris- oner in jail, unless where he is in custody under or by color of the au-
      is in jail.        thority of the United States, or is committed for trial before some court
20, s.14,     1 p.81 thereof; or is in custody for an act done or omitted in pursuance
                                                                                                of a
 . 2 March, 1833, e. law of the United States, or of an order, process, or decree of a court
57, s.7,v.4,p.634. orjudge thereof; or is in custody in violation of the Constitution or
  5 Feb., 1867,c. 28, of a law or treaty of the United States; or, being a subject or citizen of
8.1, v. 14, p. 385.    a foreign state, and domiciled therein, is in custody for an act done or
  29 Aug., 1842, c.
257, s. 1,v. 5,p. 539. omitted under any alleged right, title, authority, privilege, protection,
     . parte Dorr, 3 or exemption claimed under the commission, or order, or sanction of
Ho w., 103; Ex any foreign state, or under color thereof, the validity and effect whereof
parte Barnes, 1 depend upon the law of nations; or unless it is necessary to bring the
Sprague, 133.            prisoner into court to testify.
   Application for         SEC. 754. ,Application for a writ of habeas corpus shall be made to the
the writ of habeas court, or justice, or judge authorized to issue the same, by complaint
corfU.               -in    writing, signed by the person for whose relief it is intended, setting
   5 Feb.,1867, c. 28, forth the facts concerning the detention of the party restrained, in whose
s. 1,v. 14, p. 385.      custody he is detained, and by virtue of what claim or authority, if
                           known. The facts set forth in the complaint shall be verified by the
                           oath of the person making the application.
 Allowance and di-    SEC. 755. The court, orjustice, or judge to whom such application is
rectiou of the writ. made shall forthwith award a writ of habeas corpus, unless it appears
  5Feb.,1867,c.28, from the petition itself that the party is not entitled thereto. The writ
                   shall be directed to the person in whose custody the party is detained.
s. 1, v. 14, p. 385.
  Fxparte Watkins, 3 Pet., 193; Exparte Milligan, 4 Wall., 2, (110.)
  Time of return.        SEC. 756. Any person to whom such writ is directed shall make due
  5 Feb., 1867,3 8 5c. return thereof within three days thereafter, unless the party be detained
                        . beyond the distance of twenty miles;   and ifwithin
                                                                         beyond
                                                                              tenthat distance
                                                                                         and if and
28,s. 1, v. 14, p.
                           not beyond a distance of a hundred miles,              days;          be-
                           yond the distance of a hundred miles, within twenty days.
  Form of return.            SEC. 757. The person to whom the writ is directed shall certify to the
  5.1.4, 6.            8court, or justice, or judge before whom it is returnable the true cause of
s. 1, v. 14, p. 385.    the detention of such party.
   Body of the par-        SEC. 758. The person making the return shall at the same time bring
ty to be produced, the body of the party before the judge who granted the writ.
   5 Feb., 1867, c. 28, s. 1, v. 14, p. 385.
   Day for hearing.        SEC. 759. When the writ is returned, a. day shall be set for the hear-
   5 Feb., 1867,c. 28, ing of the cause, not exceeding five days thereafter, unless the party
s. 1, v. 14, p. 385.       petitioning requests a longer time.
   Denial of return,  SEC. 760. The petitioner or the party imprisoned or restrained may
counter-allega- deny any of the facts set forth in the return, or may allege any other
tions,amnendments. facts that may be material in the case. Said denials or allegations
   5 Feb., 1867, c. shall be under oath. The return and all suggestions made against it
28, s. 1, v. 14, p. may be amended, by leave of the court, or justice, or judge, before or
                           after the same are filed, so that thereby the material facts may b
                           ascertained.
  Summary hear-       SEC. 761. The court, or justice, or judge shall proceed in a summary
ing; disposition of way to determine the facts of the case, by hearing the testimony and
party,              arguments, and thereupon to dispose of the party as law and justice
  5 Feb., 1867, c.         require.
28, 9. 1, v. 14, p. 385.




                                                      8a
   Case: 20-61019                 Document: 160                Page: 81         Date Filed: 07/31/2023
                TITLE xii.-THE JUDICIARY.-CH.                        13-14.                                   143
   SEC. 762. When a writ of habeas corpus is issued in the case of any In cases involv-
prisoner who, being a subject or citizen of a foreign state and domiciled ing the law of na-
                                                                             tions, notice to be
therein, iscommitted, or confined, or incustody, by or under the author- served on State
ity or law of any one of the United States, or process founded thereon, attorney-general.
on account of any act done or omitted under any alleged right, title, 29 Aug., 1842, c.
authority, privilege, protection, or exemption, claimed under the com 257, v.5, p.539.
mission or order or sanction of any foreign state, or under color thereof,
the validity and effect whereof depend upon the law of nations, notice
of the said proceeding, to be prescribed by the court, or justice, drjudge
at the time of granting said writ, shall be served on the attorney-gen-
eral or other officer prosecuting the pleas of said State, and due proof
of such service shall be made to the court, or justice, or judge before the
hearing.
   SEC. 763. From the final decision of any court, justice, or judge inferior Appeals in cases
to the circuit court, upon an application for a writ of habeas corpus or of habeas corpus to
upon such writ when issued, an appeal may be taken to the circuit court circuit court.
for the district in which the cause is heard:                                   29 Aug., 1842, c.
   1. In the case of any person alleged to be restrained of his liberty in 257, v. 5, p. 539.
violation of the Constitution, or of any law or treaty of the United 5 Feb., 167, e. 28,
States.                                                                                         1, v.March,
                                                                                              s.27    14, p.1868,
                                                                                                             385. c.
  2. In the case of any prisoner who, being a subject or citizen of a for- 34, s.2, v. 15,p. 44.
eign state, and domiciled therein, is committed or confined, or in custody E parts McCar-
by or under the authority or law of the United States, or of any State, die, 6 Wall., 318;
or process founded thereon, for or on account of any act done or omit- Ex parte McCardle,
ted under any alleged ight, title, authority, privilege, protection, or ex- 7 Wall., 506; EX
emption, set up or claimedunder the commission, order, or sanction of Jtar Yerger, 8
any foreign state or sovereignty, the validity and effect whereof depend Wa8.,$5.
upon
  SFa.the lawFrom
        764.  of nations, or under color thereof.
                   the final decision of such circuit court an appeal may A ppeal to S-
be taken to the Supreme Court in the cases described in the last claus;e preme Court.
of the preceding section.                                                                       29v.Aug.,
                                                                                              257,          1842, T
                                                                                                     5, p. 539.
   SFC. 765. The appeals allowed by the two preceding sections shall be       A ppeaIs,     hew
taken on such terms, and under such regulations and orders, as well for taken.
the custody and appearance of the person alleged to be in prison or con- 29 Aug., 1842, o.
fined or restrained of his liberty, as for sending up to the appellate tri- 257, v. 5, p. 539.
bunal a transcript of the petition, writ of habeas corpus, return thereto, 5 Feb., 1867, c.
and other proceedings, as may be prescribed by the Supreme Court, or, 28,s. 1,v. 14, p.385.
in default thereof, by the court or judge hearing the cause.
   SEC. 766. Pending the proceedings or appeal in the cases mentioned Pending proceed-
in the three preceding sections, and until final judgment therein, and            in'oertai n
                                                                                 egs
after final judgment of discharge, any proceeding against the person so State authority
imprisoned or confined or restrained of his liberty, in any State court, or void.
by or under the authority of any State, for any matter so heard and de- 29 Aug., 1842, c.
termined, or in process of being heard and determined, under such writ 257, v. 5, p.539.
of habeas corpus, shall be deemed null and void.                              5 Feb., 1867, c.
                                                                                              28, s. 1,v. 14, p. 385.



                    CHAPTER FOURTEEN.
           DISTRICT ATTORNEYS, MARSHALS, AND CLERKS.
Sec.                                            Sec.
767. District attorneys.                        775. Reports by district attorney to De-
768. Iowa, district attorney.                          partment of Justice.
769. Term and oath of district attorneys.       776. Marshals.
770. Salaries of district attorneys.            777. Georgia, (N. D.,) marshal's office in.
771. Duties of district attorneys.              778. Iowa, marshal.
772. Statement of suits for fines, penalties,   779. Marshal's term.
       and forfeitures.                         780. Deputy marshals.
773. Returns of district attorneys to Solici-   781. Marshal's salaries for extra services.
       tor of the Treasury.                     782. Oath of marshals and deputy iuar-
774. Returns of district attorneys to Con-            shals.
       missioner of Internal Revenue.           783. Marshal's bond.




                                                          9a
